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                                    EXHIBIT A

                                   Plan Blackline




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                        Chapter 11
         TONOPAH SOLAR ENERGY, LLC,                                    Case No. 20-11884 (KBO)
                                                   Debtor.1



                  AMENDED CHAPTER 11 PLAN FOR TONOPAH SOLAR ENERGY, LLC



         THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE
         PLAN. ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THE
         DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
         COURT. THE INFORMATION IN THE DISCLOSURE STATEMENT AND THIS
         PLAN IS SUBJECT TO CHANGE. THIS PLAN IS NOT AN OFFER TO SELL ANY
         SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.




         1
                  The debtor in this chapter 11 case, along with the last four digits of its Employer Identification Number, is
                  Tonopah Solar Energy, LLC (1316). The Debtor’s mailing address is 11 Gabbs Pole Line Road, Tonopah,
                  NV 89049.

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             Dated:     July 30September 2, 2020

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                                                     INTRODUCTION2

                          Tonopah Solar Energy, LLC proposes the following chapter 11 plan under section
         1121(c) of the Bankruptcy Code for the resolution of the outstanding claims against, and equity
         interests in, the Debtor. Capitalized terms used in this Plan and not otherwise defined shall have
         the meanings ascribed to such terms in Article I of this Plan.


                                      DEFINITIONS AND INTERPRETATION

                         A.       Definitions.

                        The following terms shall have the meanings set forth below (such meanings to be
         equally applicable to both the singular and plural):

         1.1    Administrative Bar Date has the meaning set forth in Section 3.2(a) of this Plan.

         1.2    Administrative Expense Claim means any right to payment constituting a cost or expense
         of administration of the Chapter 11 Case of the kind specified in section 503(b) of the
         Bankruptcy Code and entitled to priority pursuant to sections 328, 330, 363, 364(c)(1), 365,
         503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code (other than a Professional Fee
         Claim or U.Sfees owed pursuant to 28 U.S.C. Trustee Fees§ 1930) incurred during the period
         from the Petition Date to the Effective Date, including: (a) any actual and necessary costs and
         expenses of preserving the Estate, any actual and necessary costs and expenses of operating the
         Debtor’s business, and any indebtedness or obligations incurred or assumed by the Debtor during
         the Chapter 11 Case; and (b) any payment to be made under this Plan to cure a default under an
         assumed, or assumed and assigned, executory contract or unexpired lease.

         1.3    Affiliate means, with respect to any Person, all Persons directly, or indirectly through one
         or more intermediaries, Controlling, Controlled by, or under common Control with such Person.

         1.4      Allowed means, with respect to a Claim or Interest under this Plan, a Claim or Interest
         that is an Allowed Claim or an Allowed __________ Claim or an Allowed Interest.

         1.5     Allowed Claim or Allowed __________ Claim (with respect to a specific type of Claim,
         if specified) means: (a) any Claim (or a portion thereof) as to which no action to dispute,
         disallow, deny or otherwise limit recovery with respect thereto, or alter the priority thereof
         (including a claim objection), has been timely commenced within the applicable period of
         limitation fixed by this Plan or applicable law, or, if an action to dispute, disallow, deny,
         equitably subordinate or otherwise limit recovery with respect thereto, or alter priority thereof,
         has been timely commenced, to the extent such Claim has been allowed (whether in whole or in
         part) by a Final Order of a court of competent jurisdiction with respect to the subject matter; or
         (b) any Claim or portion thereof that is allowed (i) in any contract, instrument, or other
         agreement entered into in connection with the Plan, (ii) pursuant to the terms of the Plan, (iii) by

         2
                All capitalized terms used but not defined herein have the meanings set forth in Article I.

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         Final Order of the Bankruptcy Court, or (iv) with respect to an Administrative Expense Claim
         only (x) that was incurred by the Debtor in the ordinary course of business during the Chapter 11
         Case to the extent due and owing without defense, offset, recoupment or counterclaim of any
         kind, and (y) that is not otherwise disputed.

         1.6     Amended Constituent Documents means, on or after the Effective Date, collectively, the
         New LLC Agreement, any amended and restated certificate of formation or other organizational
         document, as applicable, of Reorganized TSE, substantially final forms of which will be filed as
         part of the Plan Supplement.

         1.7     Avoidance Actions means any and all avoidance, recovery, subordination or other claims,
         actions or remedies that may be brought by or on behalf of the Debtor or its Estate or other
         authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law,
         including actions or remedies under sections 502, 510, 542, 544, 545, 547 through and including
         553 and 724(a) of the Bankruptcy Code.

         1.8    Backstop Agreement means that certain letter agreement, dated as of July 29, 2020,
         between Cobra and the Prepetition Secured Parties (as defined in the Cash Collateral Order)
         regarding Settlement Letter of Credit; Backstop of Post-Petition Costs and Expenses.

         1.9     Ballot means the form approved by the Bankruptcy Court and distributed to holders of
         impaired Claims entitled to vote on the Plan to be used to indicate their acceptance or rejection
         of the Plan.

         1.10 Bankruptcy Code means title 11 of the United States Code, as amended from time to
         time, as applicable to the Chapter 11 Case.

         1.11 Bankruptcy Court means the United States Bankruptcy Court for the District of
         Delaware, or any other court exercising competent jurisdiction over the Chapter 11 Case or any
         proceeding therein.

         1.12 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as promulgated by
         the Supreme Court of the United States under section 2075 of title 28 of the United States Code,
         as amended from time to time, as applicable to the Chapter 11 Case, and any local rules of the
         Bankruptcy Court.

         1.13 Business Day means any day other than a Saturday, Sunday or a “legal holiday,” as
         defined in Bankruptcy Rule 9006(a).

         1.14   Cash means the legal currency of the United States and equivalents thereof.

         1.15   Cash Collateral has the meaning set forth in section 363(a) of the Bankruptcy Code.

         1.16 Cash Collateral Order means, collectively, the interim and final orders authorizing the
         Debtor’s use of Cash Collateral [Docket Nos. __ and __].



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         1.17 Causes of Action means any claims, interests, damages, remedies, causes of action,
         demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
         privileges, licenses, liens, indemnities, guaranties, and franchises of any kind or character
         whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
         contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable,
         directly or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law,
         equity, or otherwise. Causes of Action also include: (i) all rights of setoff, counterclaim, or
         recoupment and claims under contracts or for breaches of duties imposed by law; (ii) the right to
         object to or otherwise contest Claims or equity interests; (iii) Avoidance Actions and any and all
         claims pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code;
         and (iv) such claims and defenses as fraud, mistake, duress, and usury, and any other defenses set
         forth in section 558 of the Bankruptcy Code.

         1.18 Chapter 11 Case means the case under chapter 11 of the Bankruptcy Code commenced
         by the Debtor on the Petition Date in the Bankruptcy Court and captioned In re Tonopah Solar
         Energy, LLC, Case No. 20-11884 (KBO).

         1.19 Claim means any “claim” as defined in section 101(5) of the Bankruptcy Code against
         the Debtor or property of the Debtor, including any Claim arising after the Petition Date.

         1.20 Claims Agent means Epiq Corporate Restructuring, LLC, or any other entity approved by
         the Bankruptcy Court to act as the Debtor’s claims and noticing agent pursuant to 28 U.S.C.
         §156(c).

         1.21 Claims Objection Deadline means 11:59 p.m. (prevailing Eastern Time) on the 365th
         180th calendar day after the Effective Date, subject to further extensions and/or exceptions as
         may be ordered by the Bankruptcy Court.

         1.22 Class means each category of Claims or Interests established under Article IV of the Plan
         pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

         1.23 Cobra means, collectively, ACS Servicios Comunicaciones y Energía S.L., Cobra
         Thermosolar Plants, Inc. and Cobra Energy Investment, LLC.

         1.24 Cobra Backstop Letter of Credit means, collectively, the Settlement Letter of Credit and
         the Final Letter of Credit (each as defined in the Backstop Agreement).

         1.25 Cobra Designee means an Affiliate of Cobra designated by Cobra in writing prior to the
         Effective Date and reasonably acceptable to the Debtor.

         1.26 Collateral means any property or interest in property of the Estate subject to a Lien to
         secure the payment or performance of a Claim, which Lien has not been avoided or is not subject
         to avoidance under the Bankruptcy Code or otherwise invalid under the Bankruptcy Code or
         applicable state law.

         1.27 Collateral Agency Agreement means that Collateral Agency And Accounts Agreement,
         dated as of September 23, 2011 by and among (i) Tonopah Solar Energy, LLC, a limited liability
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         company established in the State of Delaware; (ii) the U.S. Department of Energy, acting by and
         through the Secretary of Energy, as loan servicer; and (iii) PNC Bank, National Association, a
         national banking association, as the collateral agent for the Secured Parties (in such capacity,
         together with its successors and permitted assigns).

         1.28 Confirmation Date means the date on which the Court enters the Confirmation Order on
         the docket of the Chapter 11 Case.

         1.29 Confirmation Hearing means a hearing to be held by the Bankruptcy Court regarding
         confirmation of this Plan, as such hearing may be adjourned or continued from time to time.

         1.30 Confirmation Order means the order of the Bankruptcy Court confirming this Plan
         pursuant to section 1129 of the Bankruptcy Code, which shall be in form and substance
         reasonably acceptable to the Debtor, Cobra and DOE.

         1.31 Control (including the terms “controlling,” “controlled by,” and “under common control
         with”) means the possession, direct or indirect, of the power to direct or cause the direction of
         the management and policies of a Person, whether through the ownership of an equity interest,
         by contract, or otherwise.

         1.32 Crescent Dunes Solar Energy Project means the 110-MW concentrating solar power
         project near Tonopah, Nevada, including the funding, financing, refinancing, design,
         engineering, contracting, construction, operation, performance, management, function,
         maintenance, inspection, monitoring, testing, warranties and repairs of the project.

         1.33   Cure Amount has the meaning set forth in Section 10.3(a) of this Plan.

         1.34   Cure Dispute has the meaning set forth in Section 10.3(c) of this Plan.

         1.35   Cure Schedule has the meaning set forth in Section 10.3(b) of this Plan.

         1.36 D&O Liability Insurance Policies means all insurance policies for directors’, managers’
         and officers’ liability (including employment practices liability and fiduciary liability)
         maintained by the Debtor prior to the Effective Date, including as such policies may extend to
         employees, and any such policies that are “tail” policies.

         1.37 Debtor means (a) prior to the Effective Date, Tonopah Solar Energy, LLC and (b) on and
         following the Effective Date, Reorganized TSE.

         1.38   Debtor’s Case Information Website has the meaning set forth in Article I, Section C.

         1.39   Reserved.

         1.40   Reserved.

         1.41 Disallowed means a finding or conclusion of law of the Bankruptcy Court in a Final
         Order, or provision in this Plan or the Confirmation Order, disallowing a Claim.

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         1.42 Disbursing Agent means, as applicable, the Debtor or the entity designated by the Debtor
         to distribute the Plan Consideration.

         1.43 Disclosure Statement means the disclosure statement that relates to this Plan, including
         all exhibits and schedules annexed thereto or referred to therein (in each case, as it or they may
         be amended, modified, or supplemented from time to time).

         1.44 Disclosure Statement Hearing means a hearing held by the Bankruptcy Court to consider
         approval of the Disclosure Statement as containing adequate information as required by section
         1125 of the Bankruptcy Code, as the same may be adjourned or continued from time to time.

         1.45 Disclosure Statement Order means an order of the Bankruptcy Court approving the
         Disclosure Statement as having adequate information in accordance with section 1125 of the
         Bankruptcy Code, which shall be in form and substance reasonably acceptable to the Debtor,
         Cobra and DOE.

         1.46 Disputed means, with respect to a Claim or Interest, that portion (including, when
         appropriate, the whole) of such Claim or Interest that: (a) is the subject of an objection or request
         for estimation filed in the Bankruptcy Court which has not been withdrawn or overruled by a
         Final Order; and/or (b) is otherwise disputed by the Debtor in accordance with applicable law or
         contract, which dispute has not been withdrawn, resolved or overruled by Final Order. To the
         extent a Claim or Interest is held by a holder that is or may be liable to the Debtor or the Estate
         on account of a Cause of Action, such Claim or Interest shall be Disputed unless and until the
         Cause of Action has been settled or withdrawn or has been determined by a Final Order.

         1.47   Distribution Date means any date on which Plan Distributions are made.

         1.48 Distribution Record Date means, with respect to all Classes for which Plan Distributions
         are to be made, the Effective Date.

         1.49 DOE means the United States Department of Energy, acting directly or through the
         United States Department of Justice.

         1.50 Effective Date means the date specified by the Debtor in a notice filed with the
         Bankruptcy Court as the date on which the Plan shall take effect, which date shall be the first
         Business Day on which all of the conditions set forth in Section 11.1 of this Plan have been
         satisfied or waived in accordance with the terms hereof and no stay of the Confirmation Order is
         in effect.

         1.51   Entity shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

         1.52 EPC Contract means that certain Contract for the Engineering, Procurement and
         Construction of the net-110MW Nominal Capacity Thermosolar Electrical Generation Facility in
         Tonopah, Nevada, USA by and between the Debtor and Cobra Thermosolar Plants, Inc., dated as
         of September 20, 2011, as thereafter from time to time amended.



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         1.53 Estate means the estate created in the Chapter 11 Case pursuant to section 541 of the
         Bankruptcy Code.

         1.54 Estimation Order means an order or orders of the Bankruptcy Court estimating for
         voting and/or distribution purposes (under section 502(c) of the Bankruptcy Code) the allowed
         amount of any Claim. The defined term Estimation Order includes the Confirmation Order if the
         Confirmation Order grants the same relief that would have been granted in a separate Estimation
         Order.

         1.55 Exculpated Parties means, except for Solar Reserve Parties, collectively and solely in
         their capacity as such, the Debtor and each of its current and former officers and managers
         (provided, that a former officer and/or manager shall only be an Exculpated Party if such officer
         or manager served in such capacity as of the Petition Date), principals, members, partners,
         employees, agents, advisory board members, financial advisors, attorneys, accountants,
         investment bankers, consultants, representatives and all other retained Professional Persons.

         1.56 Existing Interests means all existing Interests that are outstanding immediately prior to
         the Effective Date.

         1.57 Exit Contingent Note means a contingent promissory note in the aggregate principal
         amount of $100 million, and related letter agreement, the final forms of which shall be contained
         in the Plan Supplement in form and substance acceptable to the Debtor, Cobra, and DOE. The
         payments under the Exit Contingent Note shall be guaranteed by Cobra.

         1.58 Exit Contingent Note Guarantee means a guarantee agreement, the final form of which
         shall be contained in the Plan Supplement in form and substance acceptable to the Debtor, Cobra
         and DOE, pursuant to which Cobra unconditionally guarantees Reorganized TSE’s obligations to
         DOE under the Exit Contingent Note.

         1.59 Exit Credit Facility means, collectively, (i) a $100 million first lien term loan and (ii) an
         up to $50 million working capital facility, made pursuant to the Exit Credit Facility Agreement.

         1.60 Exit Credit Facility Agent means the entity, if any, that serves as the administrative,
         collateral, and/or other agent under the Exit Credit Facility Agreement.

         1.61 Exit Credit Facility Agreement means that certain credit agreement (as amended,
         modified or supplemented from time to time) in respect of the Exit Credit Facility by and among
         Reorganized TSE and Cobra (or a Cobra Designee), a copy of which shall be contained in the
         Plan Supplement in form and substance acceptable to the Debtor and Cobra. The principal terms
         of the Exit Credit Facility Agreement are set forth on Schedule A hereto.

         1.62 Exit Credit Facility Documents means the Exit Credit Facility Agreement and all other
         related agreements, notes, certificates, documents, and instruments, and all exhibits, schedules,
         and annexes thereto entered into in connection with the Exit Credit Facility Agreement, with
         terms and conditions acceptable to the Debtor and Cobra (in each case, as amended, modified, or
         supplemented from time to time).

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         1.63 Fee Escrow Account means an interest-bearing account in an amount equal to the total
         estimated amount of unpaid Professional Fee Claims and funded by the Debtor on the Effective
         Date.

         1.64 Final Order means an order, ruling or judgment of the Bankruptcy Court or in the
         applicable court of competent jurisdiction, which has not been reversed, vacated, or stayed and
         as to which (i) the time to appeal, petition for certiorari, or move for a new trial, reargument, or
         rehearing has expired and as to which no appeal, petition for certiorari, or other proceeding for a
         new trial, reargument, or rehearing shall then be pending or (ii) if an appeal, writ of certiorari,
         new trial, reargument, or rehearing thereof has been sought, such order or judgment of the
         Bankruptcy Court shall have been affirmed by the highest court to which such order was
         appealed, or certiorari shall have been denied, or a new trial, reargument, or rehearing shall have
         been denied or resulted in no modification of such order, and the time to take any further appeal,
         petition for certiorari, or move for a new trial, reargument, or rehearing shall have expired;
         provided, that no order or judgment shall fail to be a Final Order solely because of the possibility
         that a motion under Rule 60 of the Federal Rules of Civil Procedure has been or may be filed
         with respect to such order or judgment; provided, further, that no order or judgment shall fail to
         be a Final Order solely because of the susceptibility of a Claim to a challenge under section
         502(j) of the Bankruptcy Code.

         1.65 General Unsecured Claim means any Claim other than: (a) a Professional Fee Claim; (b)
         a Prepetition Note Claim; (c) U.S. Trustee Fees; (d) an Administrative Expense Claim; (e) a
         Priority Tax Claim; (f) a Priority Non-Tax Claim; and (g) an Other Secured Claim.

         1.66 Governmental Unit means a “governmental unit” as defined in section 101(27) of the
         Bankruptcy Code.

         1.67 ICC Arbitration means the arbitration pending before the Arbitral Tribunal constituted
         under the Rules of Arbitration of the International Court of Arbitration of the International
         Chamber of Commerce, captioned Cobra Thermosolar Plants, Inc. (USA) v. Tonopah Solar
         Energy, LLC (USA), Case No. 23247/MK.

         1.68 Impaired means, when used in reference to a Class, any Class that is impaired within the
         meaning of section 1124 of the Bankruptcy Code.

         1.69 Indemnification Escrow Account means an interest-bearing account in an amount equal
         to $2.5 million, funded by the Debtor on the Effective Date, for the purpose of satisfying the
         Debtor’s obligations under Section 10.7 of this Plan.

         1.70 Indemnification Obligations means any obligation of the Debtor to indemnify managers,
         officers or employees of the Debtor who served in such capacity and were employed on or after
         the Petition Date with respect to or based upon any act or omission taken or omitted in any of
         such capacities, or for or on behalf of the Debtor, whether pursuant to agreement, the Debtor’s
         certificate of formation, operating agreement, limited liability company agreement, or similar
         corporate or other documents or other applicable contract or law in effect as of the Effective
         Date.

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         1.71 Interest means (i) the interest (whether legal, equitable, contractual or otherwise) of any
         holders of any class of equity securities of the Debtor, represented by shares of common or
         preferred stock, limited liability company interests, limited partnership interests or other
         instruments evidencing a direct or indirect ownership interest in the Debtor, whether or not
         certificated, transferable, voting or denominated “stock” or a similar security, or any option,
         warrant or right, contractual or otherwise, to acquire any such interest and (ii) any Claim arising
         from rescission of a purchase or sale of such interests or rights, or of an Affiliate of the Debtor,
         for damages arising from the purchase or sale of such interests or rights, or for the
         reimbursement or contribution allowed under section 502 of the Bankruptcy Code on account of
         such Claim.

         1.72   Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

         1.73 Loan Guarantee Agreement means that certain Loan Guarantee Agreement between the
         Debtor, as borrower, and DOE as Guarantor and Loan Servicer, dated as of September 23, 2011,
         as amended, modified, or supplemented from time to time.

         1.74 New Common Units means new limited liability company interests in Reorganized TSE.
         There shall be 100 New Common Units in Reorganized TSE as of the Effective Date.

         1.75 New LLC Agreement means the limited liability company agreement of Reorganized TSE,
         which shall be substantially in the form to be included in the Plan Supplement.

         1.76 New O&M Agreement means the new operation and maintenance agreement attached to
         the RSA.

         1.77 Other Secured Claim means any Secured Claim against the Debtor other than a
         Prepetition Note Claim.

         1.78 Person means any individual, corporation, partnership, association, indenture trustee,
         limited liability company, cooperative, organization, joint stock company, joint venture, estate,
         fund, trust, unincorporated organization, Governmental Unit or any political subdivision thereof,
         or any other entity or organization of whatever nature.

         1.79   Petition Date means July 30, 2020.

         1.80 Plan means this chapter 11 plan proposed by the Debtor, including the Plan Supplement,
         all applicable exhibits, supplements, appendices and schedules hereto and to the Plan
         Supplement, either in its present form or as the same may be altered, amended or modified from
         time to time in accordance with the provisions of the Bankruptcy Code, the Bankruptcy Rules
         and the terms hereof.

         1.81 Plan Consideration means, with respect to any Class of Claims entitled to distributions
         under this Plan, one or more of Cash, New Common Units, or rights and obligations under and
         with respect to the Exit Credit Facility, the Exit Contingent Note, or the Exit Contingent Note
         Guarantee as the case may be.

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         1.82   Plan Distribution means the distribution of Plan Consideration under the Plan.

         1.83 Plan Documents means the applicable documents, other than the Plan, to be executed,
         delivered, assumed, and/or performed in connection with the consummation of the Plan,
         including the Exit Credit Facility Documents, the Exit Contingent Note, the Exit Contingent
         Note Guarantee, the Amended Constituent Documents, the documents to be included in the Plan
         Supplement and any and all exhibits to the Plan and the Disclosure Statement, each of which
         shall be in form and substance acceptable to the Debtor, Cobra, and DOE.

         1.84 Plan Supplement means the supplemental appendix to this Plan (as may be amended,
         modified and/or supplemented) which the Debtor shall file by seven (7) days prior to the
         deadline to vote to accept or reject this Plan (provided that the Debtor may amend, supplement,
         or otherwise modify the Plan Supplement prior to the Confirmation Hearing and/or in
         accordance with the Plan), which may contain, among other things, draft forms, signed copies, or
         summaries of material terms, as the case may be, of the following: (a) Amended Constituent
         Documents; (b) the list of proposed officers and managers of Reorganized TSE; (c) the Schedule
         of Rejected Contracts and Leases; (d) the Exit Credit Facility Agreement; (e) the Exit Contingent
         Note; (f) the Exit Contingent Note Guarantee; (g) the New O&M Agreement; (h) form of
         Confirmation Order; (i) the RSA; (j) the Cobra Backstop Letter of Credit; (k) amendment no. 4
         to the EPC Contract; (l) the Backstop Agreement; and (m) any additional documents filed with
         the Bankruptcy Court before the Effective Date as additional Plan Documents and/or
         amendments to the Plan Supplement, each of which shall be in form and substance acceptable to
         the Debtor and Cobra.

         1.85 Prepetition Collateral Agent means PNC Bank, National Association (d/b/a Midland
         Loan Services, a division of PNC Bank, National Association), in its capacity as collateral agent
         under the Collateral Agency Agreement.

         1.86 Prepetition Note means that certain Future Advance Promissory Note No. 2 in the
         original principal amount of $455,693,000 payable to the Federal Financing Bank (as may be
         amended, modified, or supplemented from time to time).

         1.87 Prepetition Note Claim means any Claim or Cause of Action arising under the
         Prepetition Note and the Prepetition Note Purchase Agreement, the Loan Guarantee Agreement,
         and any other Prepetition Note Financing Documents or Prepetition Security Documents. The
         Prepetition Note Claims are Allowed Claims under the Plan.

         1.88 Prepetition Note Financing Documents means “Financing Documents” as such term is
         defined in the Loan Guarantee Agreement.

         1.89 Prepetition Note Purchase Agreement means that certain Note Purchase Agreement,
         dated September 23, 2011, among the Company, the Federal Financing Bank, and DOE.

         1.90 Prepetition Security Documents means the “Security Documents,” as defined in the
         Loan Guarantee Agreement.


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         1.91 Priority Non-Tax Claim means any Claim, other than an Administrative Expense Claim,
         a Professional Fee Claim, a Priority Tax Claim, entitled to priority in payment as specified in
         section 507(a) of the Bankruptcy Code.

         1.92 Priority Tax Claim means any Claim of a Governmental Unit of the kind entitled to
         priority in payment under sections 502(i) and 507(a)(8) of the Bankruptcy Code.

         1.93 Professional Fee Claims means an Administrative Expense Claim of a Professional
         Person against the Debtor for compensation for services rendered or reimbursement of costs,
         expenses or other charges and disbursements incurred during the period from the Petition Date
         up to, and including, the Effective Date.

         1.94 Professional Person(s) means all Persons retained by order of the Bankruptcy Court in
         connection with the Chapter 11 Case, pursuant to sections 327 or 328 of the Bankruptcy Code,
         and including any professional or other Person seeking compensation or reimbursement of
         expenses in connection with the Chapter 11 Case pursuant to sections 503(b)(3) or 503(b)(4) of
         the Bankruptcy Code, excluding any ordinary course professionals retained pursuant to an order
         of the Bankruptcy Court or otherwise.

         1.95 Released Parties means, except for Solar Reserve Parties (unless such Solar Reserve
         Parties do not affirmatively opt out of to grant the releases provided by the Plan by checking the
         box on the applicable notice of non-voting status indicating that they opt not to grant the releases
         provided in the Plan), (a) the Debtor, (b) Cobra, (c) the Prepetition Collateral Agent, (d) the
         Third Party Releasing Parties, and (e) each of the foregoing’s respective current and former
         parents, Affiliates and subsidiaries, and their current and former parents’, Affiliates’ and
         subsidiaries’ current and former directors, managers, officers, equity holders (regardless of
         whether such interests are held directly or indirectly), predecessors, successors, and assigns, and
         each of their respective current and former equity holders, officers, directors, managers,
         principals, members, employees, agents, advisory board members, financial advisors, partners,
         attorneys, accountants, managed accounts or funds, management companies, fund advisors,
         investment bankers, consultants, representatives, and other professionals, each in their capacity
         as such.

         1.96 Reorganized TSE means Tonopah Solar Energy, LLC or any successor thereto by
         merger, consolidation, or otherwise, on and after the Effective Date, which, for the avoidance of
         doubt, shall be a limited liability company.

         1.97 “RSA” means that certain Restructuring Support Agreement, dated as of July 29, 2020,
         by and between the Debtor and Cobra.

         1.98 Schedule of Rejected Contracts and Leases means a schedule of the contracts and leases
         to be rejected by the Debtor pursuant to section 365 of the Bankruptcy Code and Article X
         hereof, which may be the Cure Schedule. The Schedule of Rejected Contracts and Leases shall
         be filed as part of the Plan Supplement and may be amended from time to time, and shall be
         acceptable to the Debtor and Cobra.


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         1.99 Secured Claim means a Claim: (a) that is secured by a valid, perfected and enforceable
         Lien on Collateral, to the extent of the value of the Claim holder’s interest in such Collateral as
         of the Confirmation Date; or (b) to the extent that the holder thereof has a valid right of setoff
         pursuant to section 553 of the Bankruptcy Code.

         1.100 Secured Parties shall have the meaning ascribed to such term in the Collateral Agency
         Agreement.

         1.101 Securities Act means the Securities Act of 1933, as amended and the Exchange Act of
         1934, as amended.

         1.102 Solar Reserve Parties means SolarReserve CSP Finance, LLC and SolarReserve CSP
         Holdings, LLC and their respective Affiliates, shareholders, successors and assigns, current and
         former officers and managers, principals, members, partners, managers, employees, agents,
         advisory board members, advisors and professionals, and such other persons and entities
         identified in the Plan Supplement.

         1.103 Third Party Releasing Parties means, collectively, all Persons with a Claim, including a
         Cause of Action, against and/or Interest in the Debtor or related to the Crescent Dunes Solar
         Energy Project who (i) are deemed to accept the Plan and who do not affirmatively opt out of in
         to the releases provided by the Plan by checking the box on the applicable notice of non-voting
         status indicating that they opt not to grant the releases provided in the Plan (provided, that Cobra
         and its Affiliates shall not be entitled to opt out of be deemed to consent to such releases), and
         (ii) are deemed to reject the Plan and who do not affirmatively opt out of in to the releases
         provided by the Plan by checking the box on the applicable notice of non-voting status indicating
         that they opt not to grant the releases provided in the Plan, and (iii) each of the foregoing’s
         respective current and former parents, Affiliates and subsidiaries, and their current and former
         parents’, Affiliates’ and subsidiaries’ current and former directors, managers, officers, equity
         holders (regardless of whether such interests are held directly or indirectly), predecessors,
         successors, and assigns, and each of their respective current and former equity holders, officers,
         directors, managers, principals, members, employees, agents, advisory board members, financial
         advisors, partners, attorneys, accountants, managed accounts or funds, management companies,
         fund advisors, investment bankers, consultants, representatives, and other professionals, each in
         their capacity as such.

         1.104 Unimpaired means any Claim or Interest that is not Impaired.

         1.105 U.S. Trustee means the United States Trustee for Region 3.

         1.106 U.S. Trustee Fees means fees arising under 28 U.S.C. § 1930(a)(6) and, to the extent
         applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

                        B.      Interpretation; Application of Definitions and Rules of Construction.

                         Unless otherwise specified, all section or exhibit references in this Plan are to the
         respective section in, or exhibit to, this Plan. The words “herein,” “hereof,” “hereto,”
         “hereunder,” and other words of similar import refer to this Plan as a whole and not to any
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         particular section, subsection, or clause contained therein. Whenever from the context it is
         appropriate, each term, whether stated in the singular or the plural, will include both the singular
         and the plural. Whenever this Plan uses the term “including,” such reference will be deemed to
         mean “including, without limitation.” Any term that is not otherwise defined herein, but that is
         used in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning given to that term
         in the Bankruptcy Code or the Bankruptcy Rules, as applicable. Except for section 102(5) of the
         Bankruptcy Code, the rules of construction contained in section 102 of the Bankruptcy Code
         shall apply to the construction of this Plan. The captions and headings in this Plan are for
         convenience of reference only and shall not limit or otherwise affect the provisions hereof. Any
         reference to an entity as a holder of a Claim or Interest includes that entity’s successors and
         assigns.

                          C.     Appendices and Plan Documents.

                         All Plan Documents and appendices to the Plan are incorporated into the Plan by
         reference and are a part of the Plan as if set forth in full herein. The documents contained in the
         exhibits and Plan Supplement shall be approved by the Bankruptcy Court pursuant to the
         Confirmation Order. Holders of Claims and Interests may inspect a copy of the Plan Documents,
         once filed, in the Office of the Clerk of the Bankruptcy Court during normal business hours, or
         via the Claims Agent’s website at https://dm.epiq11.com/tonopah (the “Debtor’s Case Information
         Website”) or obtain a copy of any of the Plan Documents by a written request sent to the Claims
         Agent at the following address:

                                 Tonopah Solar Energy, LLC
                                 c/o Epiq Corporate Restructuring, LLC
                                 P.O. Box 4422
                                 Beaverton, OR 97076-4422
                                 Toll-Free U.S. and Canada Phone: (866) 897-6433
                                 International Phone: (646) 282-2500



                         CERTAIN INTER-CREDITOR AND INTER-DEBTOR ISSUES

                 2.1.     Settlement of Certain Inter-Creditor Issues.

                         Pursuant to Bankruptcy Rule 9019 and in In consideration for the Plan
         Distributions and other benefits provided under the Plan, the treatment of Claims and Interests
         under this Plan represents, among other things, the settlement and compromise of certain
         potential inter-creditor disputes.



                             ADMINISTRATIVE EXPENSE CLAIMS,
             PROFESSIONAL FEE CLAIMS, U.S. TRUSTEE FEES AND PRIORITY TAX CLAIMS


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                          All Claims and Interests, except Administrative Expense Claims, Professional Fee
         Claims, U.S. Trustee Fees fees owed pursuant to 28 U.S.C § 1930 and Priority Tax Claims, are
         placed in the Classes set forth in Article IV below. In accordance with section 1123(a)(1) of the
         Bankruptcy Code, Administrative Expense Claims, Professional Fee Claims, U.S. Trustee Fees
         and Priority Tax Claims have not been classified, and the holders thereof are not entitled to vote
         on this Plan. A Claim or Interest is placed in a particular Class only to the extent that such Claim
         or Interest falls within the description of that Class and is classified in other Classes to the extent
         that any portion of the Claim or Interest falls within the description of such other Classes.

                        A Claim or Interest is placed in a particular Class for all purposes, including
         voting, confirmation and distribution under this Plan and under sections 1122 and 1123(a)(1) of
         the Bankruptcy Code. However, a Claim or Interest is placed in a particular Class for the
         purpose of receiving Plan Distributions only to the extent that such Claim or Interest is an
         Allowed Claim or Allowed Interest and has not been paid, released or otherwise settled prior to
         the Effective Date.

                3.1.     Administrative Expense Claims.

                         (a)    Time for Filing Administrative Expense Claims.

                         The holder of an Administrative Expense Claim, other than the holder of:

                                (i)     an Administrative Expense Claim that has been Allowed on or
                                        before the Effective Date;

                                (ii)    an Administrative Expense Claim for an expense or liability
                                        incurred and payable in the ordinary course of business by the
                                        Debtor;

                                (iii)   an Administrative Expense Claim on account of fees and expenses
                                        incurred on or after the Petition Date by ordinary course
                                        professionals retained by the Debtor pursuant to an order of the
                                        Bankruptcy Court;

                                (iv)    a Claim for adequate protection arising under the Cash Collateral
                                        Order; or

                                (v)     a claim for Cure Amounts

         (and, for the avoidance of doubt, other than a holder of a Professional Fee Claim, a holder of a
         claim arising pursuant to 11 U.S.C. § 503(b)(1)(D), or with respect to U.Sfees owed pursuant to
         28 U.S.C. Trustee Fees§ 1930) must file with the Bankruptcy Court and serve on the Debtor, the
         Claims Agent, and the U.S. Trustee, proof of such Administrative Expense Claim within thirty
         (30) days after the Effective Date (the “Administrative Bar Date”). Such proof of
         Administrative Expense Claim must include at a minimum: (i) the name of the Debtor and the
         exact amount asserted to be owed by the Debtor; (ii) the name of the holder of the Administrative
         Expense Claim; (iii) the asserted amount of the Administrative Expense Claim; (iv) the basis of
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         the Administrative Expense Claim; and (v) supporting documentation for the Administrative
         Expense Claim. FAILURE TO FILE AND SERVE SUCH PROOF OF ADMINISTRATIVE
         EXPENSE CLAIM TIMELY AND PROPERLY SHALL RESULT IN SUCH CLAIM
         BEING FOREVER BARRED AND DISCHARGED. A notice setting forth the Administrative
         Bar Date will be (i) filed on the Bankruptcy Court’s docket and served with the notice of the
         Effective Date and (ii) posted on the Debtor’s Case Information Website. No other notice of the
         Administrative Bar Date will be provided.

                         (b)    Treatment of Administrative Expense Claims.

                         Except to the extent that a holder of an Allowed Administrative Expense Claim
         agrees to a different treatment, or as otherwise expressly provided herein, on the later of (i) the
         Effective Date, or as soon thereafter as is reasonably practicable, or (ii) the date on which an
         Administrative Expense Claim is Allowed, the holder of such Allowed Administrative Expense
         Claim shall receive Cash from the Debtor in an amount equal to such Allowed Claim; provided,
         however, that Allowed Administrative Expense Claims representing liabilities incurred in the
         ordinary course of business by the Debtor, as debtor in possession, shall be paid by the Debtor in
         the ordinary course of business, consistent with past practice and in accordance with the terms
         and subject to the conditions of any orders or agreements governing, instruments evidencing, or
         other documents relating to, such liabilities.

                         Claims for adequate protection under the Cash Collateral Order shall be deemed
         Allowed Administrative Expense Claims to the extent payable under the Cash Collateral Order
         or this Plan, without the necessity of filing a proof of claim with respect thereto, and shall be
         paid in full on the Effective Date or as is reasonably practicable as set forth herein without the
         need to file a proof of such Claims with the Bankruptcy Court in accordance with Section 3.2
         hereof and without further order of the Bankruptcy Court.

                3.2.     Professional Fee Claims.

                         Except to the extent that the applicable holder of an Allowed Professional Fee
         Claim agrees to less favorable treatment with the Debtor, or as otherwise expressly set forth in
         this Plan, each holder of a Professional Fee Claim shall be paid in full in Cash pursuant to this
         Section 3.2.

                         (a)    Fee Applications


                         All requests for payment of Professional Fee Claims must be filed with the
         Bankruptcy Court by the date that is 60 calendar days after the Effective Date; provided that if
         any Professional Person is unable to file its own request with the Bankruptcy Court, such
         Professional Person may deliver an original, executed copy and an electronic copy to the
         Debtor’s attorneys and the Debtor at least three Business Days before the deadline, and the
         Debtor’s attorneys shall file such request with the Bankruptcy Court. The objection deadline
         relating to a request for payment of Professional Fee Claims shall be 4:00 p.m. (prevailing
         Eastern Time) on the date that is 30 days after filing such request, and a hearing on such request,
         if necessary, shall be held no later than 30 calendar days after the objection deadline.
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         Distributions on account of Allowed Professional Fee Claims shall be made as soon as
         reasonably practicable after such Claims become Allowed.

                         (b)    Post-Effective Date Fees


                        Upon the Effective Date, any requirement that Professional Persons comply with
         sections 327 through 331 of the Bankruptcy Code in seeking retention or compensation for
         services rendered after such date shall terminate, and the Debtor may employ and pay all
         Professional Persons without any further notice to, action by or order or approval of the
         Bankruptcy Court or any other party.

                         (c)    Fee Escrow Account

                         On the Effective Date, the Debtor shall establish and fund the Fee Escrow
         Account. The Debtor shall fund the Fee Escrow Account with Cash equal to the Debtor’s good
         faith estimate of the Allowed Professional Fee Claims. Funds held in the Fee Escrow Account
         shall not be considered property of the Debtor’s Estate or property of the Debtor, but shall revert
         to the Debtor only after all Allowed Professional Fee Claims have been paid in full. Fees owing
         to the applicable holder of an Allowed Professional Fee Claim shall be paid in Cash to such
         holder from funds held in the Fee Escrow Account when such Claims are Allowed by an order of
         the Bankruptcy Court or authorized to be paid under a Final Order authorizing interim
         compensation of Professional Persons; provided, that the Debtor’s obligations with respect to
         Allowed Professional Fee Claims shall not be limited by nor deemed limited to the balance of
         funds held in the Fee Escrow Account. To the extent that funds held in the Fee Escrow Account
         are insufficient to satisfy the amount of accrued Allowed Professional Fee Claims, each holder of
         an Allowed Professional Fee Claim shall have an Allowed Administrative Expense Claim for
         any such deficiency, which shall be satisfied in accordance with Section 3.2 of this Plan. No
         Liens, claims, or interests shall encumber the Fee Escrow Account in any way.

                3.3.     U.S. Trustee Fees.

                        The Debtor shall pay all outstanding U.S. Trustee Fees on an ongoing basis on the
         date such U.S. Trustee Fees become due, until such time as a final decree is entered closing the
         Chapter 11 Case, or the Chapter 11 Case is converted or dismissed, or the Bankruptcy Court
         orders otherwise.

                3.4.     Priority Tax Claims.

                        Except to the extent that the applicable holder of an Allowed Priority Tax Claim
         has been paid by the Debtor before the Effective Date, or the Debtor and such holder agree to
         less favorable treatment by the Debtor, each holder of an Allowed Priority Tax Claim shall
         receive, on account of such Allowed Priority Tax Claim, at the option of the Debtor
         (a) payment in full in Cash made on or as soon as reasonably practicable after the later of the
         Effective Date and the first Distribution Date occurring at least 20 calendar days after the date
         such Claim is Allowed, (b) regular installment payments in accordance with section
         1129(a)(9)(C) of the Bankruptcy Code or (c) such other amounts and in such other manner as
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         may be determined by the Bankruptcy Court to provide the holder of such Allowed Priority
         Tax Claim deferred Cash payments having a value, as of the Effective Date, equal to such
         Allowed Priority Tax Claim.

                       The Debtor shall have the right, in its sole discretion, to pay any Allowed
         Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim (together with
         accrued but unpaid interest) in full at any time on or after the Effective Date without premium
         or penalty.


                                   CLASSIFICATION OF CLAIMS AND INTERESTS

                   4.1.     Classification of Claims and Interests.

                        The following table designates the Classes of Claims against and Interests in the
         Debtor, and specifies which Classes are: (a) impaired or unimpaired by this Plan; (b) entitled to
         vote to accept or reject this Plan in accordance with section 1126 of the Bankruptcy Code; and
         (c) presumed to accept or reject this Plan.

              Class                               Designation                     Impairment     Entitled to
                                                                                                   Vote
         Class 1                  Priority Non-Tax Claims                             No            No
         Class 2                  Other Secured Claims                                No            No
         Class 3                  Prepetition Note Claims                             Yes           Yes
         Class 4                  General Unsecured Claims                            No            No
         Class 5                  Existing Interests                                  Yes           No

                        If a controversy arises regarding whether any Claim is properly classified under
         the Plan, the Bankruptcy Court shall, upon proper motion and notice, determine such controversy
         at the Confirmation Hearing. If the Bankruptcy Court finds that the classification of any Claim
         is improper, then such Claim shall be reclassified and the Ballot previously cast by the holder of
         such Claim (if any) shall be counted in, and the Claim shall receive the treatment prescribed in,
         the Class in which the Bankruptcy Court determines such Claim should have been classified,
         without the necessity of resoliciting any votes on the Plan.

                   4.2.     Unimpaired Classes of Claims.

                        The following Classes of Claims are unimpaired and, therefore, deemed to have
         accepted this Plan and are not entitled to vote on this Plan under section 1126(f) of the
         Bankruptcy Code:

                            (a)      Class 1: Class 1 consists of all Priority Non-Tax Claims.

                            (b)      Class 2: Class 2 consists of all Other Secured Claims.

                            (c)      Class 4: Class 4 consists of General Unsecured Claims.

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                4.3.     Impaired Classes of Claims.

                         Class 3 consists of Prepetition Note Claims, is impaired and is entitled to vote on
         this Plan. Class 5 consists of all Existing Interests, is impaired and is deemed to have rejected
         this Plan, and therefore, is not entitled to vote on this Plan under section 1126(g) of the
         Bankruptcy Code.

                4.4.     Separate Classification of Other Secured Claims.

                         Although all Other Secured Claims have been placed in one Class for purposes of
         nomenclature, each Other Secured Claim, to the extent secured by a Lien on Collateral different
         than that securing any additional Other Secured Claims, shall be treated as being in a separate
         sub-Class for the purpose of receiving Plan Distributions.


                                 TREATMENT OF CLAIMS AND INTERESTS

                5.1.     Priority Non-Tax Claims (Class 1).

                        (a)    Treatment: The legal, equitable and contractual rights of the holders of
         Priority Non-Tax Claims are unaltered by this Plan. Except to the extent that a holder of an
         Allowed Priority Non-Tax Claim agrees to a different treatment, on the applicable Distribution
         Date, each holder of an Allowed Priority Non-Tax Claim shall receive Cash from the Debtor in
         an amount equal to such Allowed Claim.

                        (b)     Voting: The Priority Non-Tax Claims are not impaired Claims. In
         accordance with section 1126(f) of the Bankruptcy Code, the holders of Priority Non-Tax Claims
         are conclusively presumed to accept this Plan and are not entitled to vote to accept or reject the
         Plan, and the votes of such holders will not be solicited with respect to such Allowed Priority
         Non-Tax Claims.

                5.2.     Other Secured Claims (Class 2).

                         (a)     Treatment: The legal, equitable and contractual rights of the holders of
         Other Secured Claims are unaltered by this Plan. Except to the extent that a holder of an
         Allowed Other Secured Claim agrees to a different treatment, on the Effective Date, or as soon
         as reasonably practicable thereafter, each holder of an Allowed Other Secured Claim shall each
         receive, subject to the terms of the Plan, in full and final satisfaction, settlement, release and
         discharge of its Allowed Other Secured Claim, at the election of the Debtor:

                                (i)    Cash in an amount equal to such Allowed Other Secured Claim; or

                                (ii)   such other treatment that will render such Other Secured Claim
                                       unimpaired pursuant to section 1124 of the Bankruptcy Code;

         provided, however, that Other Secured Claims incurred by the Debtor in the ordinary course of
         business may be paid in the ordinary course of business in accordance with the terms and

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         conditions of any agreements relating thereto, in the discretion of the Debtor without further
         notice to or order of the Bankruptcy Court.

                         Each holder of an Allowed Other Secured Claim shall retain the Liens securing its
         Allowed Other Secured Claim as of the Effective Date until full and final satisfaction of such
         Allowed Other Secured Claim is made as provided herein. On the full payment or other
         satisfaction of each Allowed Other Secured Claim in accordance with the Plan, the Liens
         securing such Allowed Other Secured Claim shall be deemed released, terminated and
         extinguished, in each case without further notice to or order of the Bankruptcy Court, act or
         action under applicable law, regulation, order or rule or the vote, consent, authorization or
         approval of any Person.

                        (b)     Voting: The Other Secured Claims are not impaired Claims. In
         accordance with section 1126(f) of the Bankruptcy Code, the holders of Other Secured Claims
         are conclusively presumed to accept this Plan and are not entitled to vote to accept or reject the
         Plan, and the votes of such holders will not be solicited with respect to such Allowed Other
         Secured Claims.

                5.3.     Prepetition Note Claims (Class 3).

                         (a)     Treatment: The Prepetition Note Claims shall be Allowed under the Plan
         and shall not be subject to any avoidance, reductions, setoff, offset, recoupment,
         recharacterization, subordination (whether equitable, contractual or otherwise), counterclaims,
         cross-claims, defenses, disallowance, impairment, objection or any other challenges under any
         applicable law or regulation by any Person. On the Effective Date, DOE, as the holder of the
         Allowed Prepetition Note Claims, shall receive, subject to the terms of the Plan, in full and final
         satisfaction, settlement, release and discharge of its Allowed Prepetition Note Claims, (a) $200
         million in Cash (which shall be satisfied by DOE by a draw on the Cobra Backstop Letter of
         Credit) and (b) all rights and obligations under the Exit Contingent Note. On the Effective Date,
         the Debtor shall also pay in full in Cash all outstanding fees and expenses incurred by the
         Prepetition Collateral Agent to the extent due and owing under the Collateral Agency
         Agreement.

                          (b)    Upon payment of the $200 million in Cash provided in § 5.3(a) of this
         Plan, the delivery of the executed Exit Contingent Note to DOE, and the payment in full in Cash
         of all outstanding fees and expenses of the Prepetition Collateral Agent as provided in § 5.3(a) of
         the Plan: (i) the Loan Servicer (on DOE’s behalf) shall conclusively be deemed to have provided
         written direction to the Prepetition Collateral Agent to release all Collateral it holds on behalf of
         the Secured Parties and to release all Liens thereon for the benefit of the Secured Parties; and (ii)
         the Loan Servicer shall conclusively be deemed to have certified to the Prepetition Collateral
         Agent that the Discharge Date under the Collateral Agency Agreement has occurred. On the
         Effective Date, and upon (x) payment of the $200 Million in Cash provided in § 5.3(a) of the
         Plan, (y) the delivery of the executed Exit Contingent Note to DOE, and (z) payment of all
         outstanding fees and expenses of the Prepetition Collateral Agent in full in Cash as provided in §
         5.3(a) of the Plan, the Prepetition Collateral Agent shall release to the Debtor all Collateral held
         for the benefit of the Secured Parties and any Liens on the Collateral held for the benefit of the
         Secured Parties. The Debtor shall pay all reasonable fees and expenses incurred by the
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         Collateral Agent in complying with the previous sentence on or as soon as reasonably practicable
         after the Effective Date. Upon the release of the Collateral held by the Prepetition Collateral
         Agent for the benefit of the Secured Parties and the release of all Liens on the Prepetition
         Collateral held for the benefit of the Secured Parties, the duties, responsibilities, and obligations
         of the Prepetition Collateral Agent under the Collateral Agency Agreement shall terminate.

                         (c)     Voting: The Prepetition Note Claims are impaired Claims. The holder of
         such Claims is entitled to vote to accept or reject the Plan, and the votes of such holder will be
         solicited with respect to such Prepetition Note Claims.

                5.4.     General Unsecured Claims (Class 4).

                         (a)      Treatment: General Unsecured Claims are unimpaired Claims. Except to
         the extent that a holder of a General Unsecured Claim agrees to different treatment, each holder
         of an Allowed General Unsecured Claim shall receive treatment that: (i) leaves unaltered the
         legal, equitable, or contractual rights to which the holder of such Allowed General Unsecured
         Claim is entitled; or (ii) otherwise leaves such Allowed General Unsecured Claim unimpaired
         pursuant to section 1124 of the Bankruptcy Code.

                         (b)     Voting: The Allowed General Unsecured Claims are not impaired Claims.
         In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed General
         Unsecured Claims are conclusively presumed to accept this Plan and are not entitled to vote to
         accept or reject the Plan, and the votes of such holders will not be solicited with respect to such
         Allowed General Unsecured Claims.

                5.5.     Existing Interests (Class 5).

                        (a)    Treatment: Existing Interests shall be discharged, cancelled, released and
         extinguished, and holders thereof shall not receive or retain any distribution under the Plan on
         account of such Existing Interests.

                        (b)     Voting: The Existing Interests are impaired Interests. In accordance with
         section 1126(g) of the Bankruptcy Code, the holders of Existing Interests are conclusively
         presumed to reject this Plan and are not entitled to vote to accept or reject the Plan, and the votes
         of such holders will not be solicited with respect to such Existing Interests.



                                  ACCEPTANCE OR REJECTION OF
                              THE PLAN; EFFECT OF REJECTION BY ONE
                             OR MORE CLASSES OF CLAIMS OR INTERESTS

                6.1.     Class Acceptance Requirement.

                         A Class of Claims that is impaired under the Plan shall have accepted the Plan if it
         is accepted by at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number
         of holders of the Allowed Claims in such Class that have voted on the Plan.
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              6.2.   Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code or
         “Cramdown.”

                         Because Class 5 is deemed to have rejected this Plan, the Debtor will request
         confirmation of this Plan, as it may be modified and amended from time to time, under section
         1129(b) of the Bankruptcy Code with respect to such Class. Subject to Sections 14.3 and 14.4 of
         this Plan, the Debtor reserves the right to revoke or withdraw this Plan or, if acceptable to the
         Debtor, Cobra and DOE, to alter, amend, or modify this Plan or, alter, amend, modify, revoke or
         withdraw any Plan Document, in order to satisfy the requirements of section 1129(b) of the
         Bankruptcy Code, if necessary. Subject to Sections 14.3 and 14.4 of this Plan (including the
         consent and consultation rights set forth therein), the Debtor also reserves the right to request
         confirmation of the Plan, as it may be modified, supplemented or amended from time to time,
         with respect to any Class that affirmatively votes to reject the Plan.

                6.3.     Elimination of Vacant Classes.

                        Any Class of Claims or Interests that is impaired and is entitled to vote on the
         Plan that does not have a holder of an Allowed Claim or Allowed Interest or a Claim or Interest
         temporarily Allowed as of the date of the deadline for voting to accept or reject the Plan shall be
         deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
         purposes of determining acceptance or rejection of the Plan pursuant to section 1129(a)(8) of the
         Bankruptcy Code.


                                      MEANS FOR IMPLEMENTATION

                7.1.     Continued Existence and Vesting of Assets in Reorganized TSE.

                          (a)    Except as otherwise provided in this Plan, the Debtor shall continue to
         exist after the Effective Date as Reorganized TSE in accordance with the laws of the State of
         Delaware and pursuant to the Amended Constituent Documents for the purposes of satisfying its
         obligations under the Plan and the continuation of its business. On or after the Effective Date,
         Reorganized TSE, in its discretion, may take such action as permitted by applicable law and the
         Amended Constituent Documents as Reorganized TSE may determine is reasonable and
         appropriate.

                          (b)    Except as otherwise provided in this Plan, on and after the Effective Date,
         all property of the Estate, wherever located, including all claims, rights and Causes of Action,
         and any property, wherever located, acquired by the Debtor under or in connection with this
         Plan, shall vest in Reorganized TSE free and clear of all Claims, Liens, charges, other
         encumbrances and Interests. On and after the Effective Date, Reorganized TSE may operate its
         business and may use, acquire and dispose of property, wherever located, and prosecute,
         compromise or settle any Claims (including any Administrative Expense Claims) and Causes of
         Action without supervision of or approval by the Bankruptcy Court and free and clear of any
         restrictions of the Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly
         imposed by this Plan or the Confirmation Order. Without limiting the foregoing, Reorganized
         TSE may pay the charges that it incurs on or after the Effective Date for Professional Persons’
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         fees, disbursements, expenses or related support services without application to the Bankruptcy
         Court.

                         (c)     On the Effective Date or as soon as reasonably practicable thereafter,
         Reorganized TSE may take all actions that may be necessary or appropriate to effectuate any
         transaction described in, approved by, contemplated by, or necessary to effectuate the Plan,
         including: (1) the execution and delivery of appropriate agreements or other documents
         containing terms that are consistent with the terms of the Plan and that satisfy the requirements
         of applicable law and any other terms to which the applicable entities may agree; (2) the
         execution and delivery of appropriate instruments of transfer, assignment, assumption or
         delegation of any asset, property, right, liability, debt or obligation on terms consistent with the
         terms of the Plan and having other terms for which the applicable parties agree; (3) the filing of
         appropriate certificates or articles of formation, merger, consolidation, conversion, dissolution,
         or other organizational documents pursuant to applicable state law; and (4) all other actions that
         the applicable entities determine to be necessary or appropriate, including making filings or
         recordings that may be required by applicable law.

                7.2.     Issuance of New Common Units to Cobra

                        In consideration for Cobra’s commitments and undertakings under the Plan, the
         New Common Units shall be issued on the Effective Date and distributed to Cobra (or a Cobra
         Designee) on the Effective Date or as soon as practicable thereafter, in accordance with this Plan
         and the terms of the Amended Constituent Documents. All of the New Common Units issuable
         in accordance with this Plan, when issued, shall be duly authorized, validly issued, fully paid,
         and non-assessable. The issuance of the New Common Units is authorized without the need for
         any further limited liability company, or other similar action and without any further action by
         any holder of an Allowed Claim or Interest.

                       The New Common Units will not be listed on a national securities exchange,
         Reorganized TSE will not be a reporting company under the Securities Exchange Act, and
         Reorganized TSE shall not be required to and will not file reports with the SEC or any other
         governmental entity after the Effective Date.

                7.3.     Plan Value of New Common Units

                        For purposes of this Plan, the New Common Units shall have an aggregate
         deemed value equal to $100 million. Such deemed value is equal to the amount that will be
         drawn by DOE on the Cobra Backstop Letter of Credit pursuant to Section 5.3 of this Plan less
         the $100 million term loan component of the Exit Credit Facility.

                7.4.     Working Capital Commitment

                      Under the Exit Credit Facility, Cobra (or a Cobra Designee) shall provide
         Reorganized TSE with up to $50 million to fund the working capital and other needs of
         Reorganized TSE.


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                7.5.     Exit Credit Facility Agreement, Exit Contingent Note

                         On the Effective Date, Reorganized TSE shall be authorized to enter into the Exit
         Credit Facility Agreement, Exit Contingent Note, and the Amended Constituent Documents
         without the need for any further limited liability company or other similar action. The entry of
         the Confirmation Order shall be deemed approval of the Exit Credit Facility Agreement, Exit
         Contingent Note, and the Amended Constituent Documents, and authorization for Reorganized
         TSE to enter into and execute the Exit Credit Facility Agreement, Exit Contingent Note, and the
         Amended Constituent Documents requiring execution and delivery by Reorganized TSE.

                          The obligations arising under the Exit Credit Facility Documents shall be secured
         by a senior priority perfected security interest in substantially all present and after acquired
         property and proceeds thereof of Reorganized TSE, subject to any exceptions and materiality
         thresholds acceptable to Cobra, as lender under the Exit Credit Facility Agreement. The Debtor
         is authorized to make all filings and recordings and to obtain all governmental approvals and
         consents necessary or desirable to establish and further evidence perfection of any Liens and
         security interests granted to secure the obligations under the Exit Credit Facility Documents
         under the provisions of any applicable federal, state, provincial, or other law (whether domestic
         or foreign) (it being understood that perfection shall occur automatically by virtue of the
         occurrence of the Effective Date, and any such filings, recordings, approvals, and consents shall
         not be required), and will thereafter cooperate to make all other filings and recordings that
         otherwise would be necessary under applicable law to give notice of such Liens and security
         interests to third parties.

                7.6.     Cancellation of Existing Securities and Agreements.

                        Except for the purpose of evidencing a right to distribution under this Plan, and
         except as otherwise set forth herein, on the Effective Date, the Prepetition Note Documents shall
         be deemed cancelled, discharged and of no further force or effect. DOE, as holder of the
         Allowed Prepetition Note Claims, shall have no rights arising from or relating to such
         instruments, securities and other documentation or the cancellation thereof, except the rights
         provided for pursuant to this Plan.

                7.7.     Cancellation of Liens Pursuant to Cash Collateral Order.

                         On the Effective Date, the Cash Collateral Order, including the use of cash
         collateral thereunder, shall be terminated. All Liens and security interests granted to secure
         obligations pursuant to the Cash Collateral Order shall be terminated and of no further force or
         effect, without the need for further Court approval, action or order. Reorganized TSE shall be
         entitled to take any action necessary to effectuate the discharge of any Lien under the Cash
         Collateral Order.

                7.8.     Board of Managers.

                         (a)     On the Effective Date, the board of managers of Reorganized TSE shall
         consist of five (5) individuals selected by Cobra, who shall be reasonably acceptable to the
         Debtor, and identified in the Plan Supplement to be filed with the Bankruptcy Court.
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                        (b)      Unless reappointed pursuant to Section 7.8(a) hereof, the members of the
         board of managers of the Debtor prior to the Effective Date shall have no continuing obligations
         to the Debtor in their capacities as such on and after the Effective Date and each such member
         shall be deemed to have resigned or shall otherwise cease to be a manager of the Debtor on the
         Effective Date. Commencing on the Effective Date, each of the managers of Reorganized TSE
         shall serve pursuant to the terms of the Amended Constituent Documents and be replaced or
         removed in accordance therewith.

                7.9.     Organizational and Other Action.

                         (a)   The Debtor shall serve on the U.S. Trustee quarterly reports of its
         disbursements until such time as a final decree is entered closing the Chapter 11 Case or the
         Chapter 11 Case is converted or dismissed, or the Bankruptcy Court orders otherwise. Any
         deadline for filing Administrative Expense Claims shall not apply to U.S. Trustee Fees.

                        (b)     On the Effective Date, the Amended Constituent Documents and any other
         applicable amended and restated limited liability company or other organizational documents of
         the Debtor shall be deemed authorized in all respects.

                        (c)    Any action under the Plan to be taken by or required of the Debtor,
         including the adoption or amendment of its certificate of formation, limited liability company
         agreement or other organizational document, the issuance of limited liability company
         membership interests, securities and instruments, or the selection of officers or managers, shall
         be authorized and approved in all respects, without any requirement of further action by the
         Debtor’s equity holders, sole member, board of managers, or similar body, as applicable.

                        (d)     The Debtor shall be authorized to execute, deliver, file, and record such
         documents (including the Plan Documents), contracts, instruments, releases and other
         agreements and take such other action as may be necessary to effectuate and further evidence the
         terms and conditions of the Plan, without the necessity of any further Bankruptcy Court, limited
         liability company, board or member approval or action. In addition, the selection of the Persons
         who will serve as the initial managers, officers and managers of Reorganized TSE as of the
         Effective Date shall be deemed to have occurred and be effective on and after the Effective Date
         without any requirement of further action by the board of managers or equity holders of the
         applicable Reorganized TSE.

                7.10.    Comprehensive Settlement of Claims and Controversies.

                          Pursuant to Bankruptcy Rule 9019 and in In consideration for the Plan
         Distributions and other benefits provided under this Plan, the provisions of this Plan will
         constitute a good faith compromise and settlement of all Claims and Causes of Action relating to
         the rights that a holder of a Claim or Interest may have with respect to any Allowed Claim or
         Allowed Interest or any Plan Distribution on account thereof. The entry of the Confirmation
         Order will constitute the Bankruptcy Court’s approval, as of the Effective Date, of the
         compromise or settlement of all such claims or controversies and the Bankruptcy Court’s finding
         that all such compromises or settlements are: (a) in the best interest of the Debtor, its Estate and
         its property and stakeholders; and (b) fair, equitable and reasonable.
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                7.11.    Transactions Authorized under Plan

                        On and after the Effective Date, the Debtor and Reorganized TSE, as applicable,
         shall be authorized to take such actions as may be necessary or appropriate to implement the
         transactions contemplated by the Plan and the other Plan Documents.

                7.12.    Approval of Plan Documents

                  The solicitation of votes with respect to the Plan shall be deemed a solicitation for the
         approval of the Plan Documents and all transactions contemplated hereunder. Entry of the
         Confirmation Order shall constitute approval of the Plan Documents and such transactions. On
         the Effective Date, the Debtor and Reorganized TSE, as applicable, shall be authorized to enter
         into, file, execute and/or deliver each of the Plan Documents and any other agreement or
         instrument issued in connection with any Plan Document without the necessity of any further
         limited liability company, board, member, manager, or similar action.

                7.13.    Dismissal of the ICC Arbitration

                 Within three (3) Business Days of the Effective Date, Reorganized TSE and Cobra shall
         jointly request the dismissal with prejudice of the ICC Arbitration.



                                                   DISTRIBUTIONS

                8.1.     Distributions.

                       The Disbursing Agent shall make all Plan Distributions to the applicable holders
         of Allowed Claims in accordance with the terms of this Plan.

                8.2.     No Postpetition Interest on Claims.

                        Unless otherwise specifically provided for in the Plan or Confirmation Order, or
         required by applicable bankruptcy law, postpetition interest shall not accrue or be paid on any
         Claims, and no holder of a Claim shall be entitled to interest accruing on such Claim on or after
         the Petition Date.

                8.3.     Date of Distributions.

                         Unless otherwise provided herein, any Plan Distributions and deliveries to be
         made hereunder shall be made on the Effective Date or as soon as reasonably practicable
         thereafter; provided, that the Debtor may utilize periodic Distribution Dates to the extent that use
         of a periodic Distribution Date does not delay payment of the Allowed Claim more than thirty
         (30) days. In the event that any payment or act under this Plan is required to be made or
         performed on a date that is not a Business Day, then the making of such payment or the
         performance of such act may be completed on or as soon as reasonably practicable after the next
         succeeding Business Day, but shall be deemed to have been completed as of the required date.
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                8.4.     Distribution Record Date.

                         As of the close of business on the Distribution Record Date, the various lists of
         holders of Claims in each of the Classes, as maintained by the Debtor or its agents, shall be
         deemed closed and there shall be no further changes in the record holders of any of the Claims
         after the Distribution Record Date. Neither the Debtor nor the Disbursing Agent shall have any
         obligation to recognize any transfer of Claims occurring after the close of business on the
         Distribution Record Date. Additionally, with respect to payment of any Cure Amounts or any
         Cure Disputes in connection with the assumption and/or assignment of the Debtor’s executory
         contracts and unexpired leases, neither the Debtor nor the Disbursing Agent shall have any
         obligation to recognize or deal with any party other than the non-Debtor party to the applicable
         executory contract or unexpired lease, even if such non-Debtor party has sold, assigned or
         otherwise transferred its Claim for a Cure Amount.

                8.5.     Disbursing Agent.

                         (a)    Powers of Disbursing Agent.

                          The Disbursing Agent shall be empowered to: (i) effectuate all actions and
         execute all agreements, instruments, and other documents necessary to perform its duties under
         this Plan; (ii) make all applicable Plan Distributions or payments contemplated hereby;
         (iii) employ professionals to represent it with respect to its responsibilities; and (iv) exercise such
         other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court
         (including any order issued after the Effective Date), pursuant to this Plan, or as deemed by the
         Disbursing Agent to be necessary and proper to implement the provisions hereof.

                         (b)    Expenses Incurred by the Disbursing Agent on or After the Effective Date.

                        Except as otherwise ordered by the Bankruptcy Court, and subject to the written
         agreement of the Debtor, the amount of any reasonable and documented fees and expenses
         incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any
         reasonable compensation and expense reimbursement Claims (including reasonable attorney and
         other professional fees and expenses) of the Disbursing Agent shall be paid in Cash by the
         Debtor and will not be deducted from Plan Distributions made to holders of Allowed Claims by
         the Disbursing Agent. The foregoing fees and expenses shall be paid in the ordinary course,
         upon presentation of invoices to the Debtor.

                        In the event that the Disbursing Agent and the Debtor are unable to resolve a
         dispute with respect to the payment of the Disbursing Agent’s fees, costs and expenses, the
         Disbursing Agent may elect to submit any such dispute to the Bankruptcy Court for resolution.

                         (c)    Bond.

                         The Disbursing Agent shall not be required to give any bond or surety or other
         security for the performance of its duties unless otherwise ordered by the Bankruptcy Court and,
         in the event that the Disbursing Agent is so otherwise ordered, all costs and expenses of
         procuring any such bond or surety shall be borne by the Debtor. Furthermore, any such entity
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         required to give a bond shall notify the Bankruptcy Court and the U.S. Trustee in writing before
         terminating any such bond that is obtained.

                         (d)    Cooperation with Disbursing Agent.

                         The Debtor shall use all commercially reasonable efforts to provide the
         Disbursing Agent with the amount of Claims and the identity and addresses of holders of Claims,
         in each case, as set forth in the Debtor’s books and records. The Debtor will cooperate in good
         faith with the Disbursing Agent to comply with the withholding and reporting requirements
         outlined in Section 8.16 of this Plan.

                8.6.     Delivery of Distributions.

                          Subject to the provisions contained in this Article VIII, the Disbursing Agent will
         issue, or cause to be issued, and authenticate, as applicable, all Plan Consideration, and subject to
         Bankruptcy Rule 9010 and except as provided in Section 8.3 of this Plan, make all Plan
         Distributions or payments to any holder of an Allowed Claim as and when required by this Plan
         at: (a) in the case of DOE, the address and in the manner notified to the Debtor by DOE in
         writing prior to the Effective Date; (b) the address of such holder on the books and records of the
         Debtor or its agents; or (c) the address in any written notice of address change delivered to the
         Debtor or the Disbursing Agent, including any addresses included on any filed proofs of Claim
         or transfers of Claim filed with the Bankruptcy Court. In the event that any Plan Distribution to
         any holder is returned as undeliverable, no distribution or payment to such holder shall be made
         unless and until the Disbursing Agent has been notified of the then current address of such
         holder, at which time or as soon as reasonably practicable thereafter such Plan Distribution shall
         be made to such holder without interest; provided, however, such Plan Distributions or payments
         shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
         expiration of the later of 180 days from: (i) the Effective Date; and (ii) the first Distribution Date
         after such holder’s Claim is first Allowed.

                8.7.     Satisfaction of Claims.

                         Unless otherwise specifically provided herein, any Plan Distributions and
         deliveries to be made on account of Allowed Claims hereunder shall be in complete settlement,
         satisfaction and discharge of such Allowed Claims.

                8.8.     Manner of Payment Under Plan.

                        Except as specifically provided herein, at the option of the Debtor, any Cash
         payment to be made hereunder may be made by a check or wire transfer or as otherwise required
         or provided in applicable agreements or customary practices of the Debtor.

                8.9.     No Distribution in Excess of Amount of Allowed Claim.

                        Notwithstanding anything to the contrary herein, no holder of an Allowed Claim
         shall, on account of such Allowed Claim, receive a Plan Distribution of a value in excess of the
         Allowed amount of such Claim.
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                 8.10.   Exemption from Securities Laws.

                        Pursuant to section 4(a)(2) of the Securities Act and Rule 506 of Regulation D
         promulgated thereunder, the issuance of the New Common Units is exempt from the registration
         requirements of the Securities Act and any State or local law requiring registration for offer or sale of
         a security.

                 8.11.   Setoffs and Recoupments.

                         Except as expressly provided in this Plan, the Debtor may, but shall not be
         required to, pursuant to sections 553 and 558 of the Bankruptcy Code or applicable non-
         bankruptcy law, setoff and/or recoup against any Allowed Claim and any Plan Distributions to
         be made on account of any Allowed Claim, any and all claims, rights and Causes of Action of
         any nature that such Debtor may hold against the holder of such Allowed Claim pursuant to the
         Bankruptcy Code or applicable non-bankruptcy law; provided, however, that neither the failure
         to effectuate a setoff or recoupment nor the allowance of any Claim hereunder shall constitute a
         waiver, abandonment or release by the Debtor or its successor of any and all claims, rights and
         Causes of Action that such Debtor or its successor may possess against the applicable holder;
         provided further, that, for the avoidance of doubt, the Debtor may not setoff and/or recoup any
         Allowed Claim, right, or Cause of Action that the Debtor may hold against Allowed Prepetition
         Note Claims or the Prepetition Collateral Agent.

                 8.12.   Withholding and Reporting Requirements.

                         In connection with this Plan and all Plan Distributions hereunder, the Debtor shall
         comply with all withholding and reporting requirements imposed by any federal, state, local or
         foreign taxing authority, and all Plan Distributions hereunder shall be subject to any such
         withholding and reporting requirements. The Debtor shall be authorized to take any and all
         actions that may be necessary or appropriate to comply with such withholding and reporting
         requirements, including liquidating a portion of any Plan Distribution to generate sufficient funds
         to pay applicable withholding taxes or establishing any other mechanisms the Debtor or the
         Disbursing Agent believe are reasonable and appropriate, including requiring a holder of a Claim
         to submit appropriate tax and withholding certifications. Notwithstanding any other provision of
         this Plan: (a) each holder of an Allowed Claim that is to receive a Plan Distribution under this
         Plan shall have sole and exclusive responsibility for the satisfaction and payment of any tax
         obligations imposed by any Governmental Unit, including income, withholding and other tax
         obligations on account of such distribution; and (b) no Plan Distributions shall be required to be
         made to or on behalf of such holder pursuant to this Plan unless and until such holder has made
         arrangements satisfactory to the Debtor for the payment and satisfaction of such tax obligations
         or has, to the Debtor’s satisfaction, established an exemption therefrom.




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                                 PROCEDURES FOR RESOLVING CLAIMS

                9.1.     Disputed Claims.

                          Notwithstanding section 502(a) of the Bankruptcy Code, and in light of the
         unimpaired status of all Allowed General Unsecured Claims under the Plan, except for holders of
         claims for rejection damages, which must file proofs of claim pursuant to Section 10.2 of the
         Plan, holders of Allowed General Unsecured Claims do not need to file proofs of Claim with the
         Bankruptcy Court, and the Debtor and the holders of Allowed General Unsecured Claims shall
         determine, adjudicate, and resolve any disputes over the validity and amounts of such Allowed
         General Unsecured Claims in the ordinary course of business; provided, that (unless expressly
         waived pursuant to the Plan) the Allowed amount of such Allowed General Unsecured Claims
         shall be subject to and shall not exceed the limitations under or maximum amounts permitted by
         the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent
         applicable. If a holder of an Allowed General Unsecured Claim elects to file a proof of Claim
         with the Bankruptcy Court, such holder shall be deemed to have consented to the jurisdiction of
         the Bankruptcy Court for all purposes with respect to such Allowed General Unsecured Claim,
         and the Bankruptcy Court shall retain nonexclusive jurisdiction over all such Allowed General
         Unsecured Claims, which shall be resolved on a case-by-case basis through settlements, Claim
         objections (or, if necessary, through adversary proceedings), adjudication in a forum other than
         the Bankruptcy Court, or by withdrawal of the Allowed General Unsecured Claims by the
         holders of such Claims. From and after the Effective Date, Reorganized TSE may satisfy,
         dispute, settle, or otherwise compromise any Claim without approval of the Bankruptcy Court.
         Disputed Claims shall not be entitled to any Plan Distributions unless and until they become
         Allowed Claims.

                 9.2.    Objections to Claims.Other than with respect to Professional Fee Claims (or as
         otherwise expressly provided in any order of the Bankruptcy Court), only the Debtor shall be
         entitled to object to Claims after the Effective Date.

                         Any objections to Claims (other than Administrative Expense Claims) shall be
         served and filed on or before the later of: (a) the Claims Objection Deadline and (b) such other
         date as may be fixed by the Bankruptcy Court, whether fixed before or after the date specified in
         clause (a) hereof (for the avoidance of doubt, this objection deadline may be extended one or
         more times by the Bankruptcy Court). Any Administrative Expense Claims filed after the
         Administrative Bar Date shall be deemed Disallowed and expunged in their entirety without
         further order of the Bankruptcy Court or any action being required on the part of the Debtor, as
         applicable, unless the Person wishing to file such untimely Claim has received the Bankruptcy
         Court’s authorization to do so. Notwithstanding any authority to the contrary, an objection to a
         Claim shall be deemed properly served on the claimant if the objecting party effects service in
         any of the following manners: (a) in accordance with Federal Rule of Civil Procedure 4, as
         modified and made applicable by Bankruptcy Rule 7004; (b) by first class mail, postage prepaid,
         on the signatory on the proof of claim as well as all other representatives identified in the proof
         of claim or any attachment thereto; or (c) if counsel has agreed to or is otherwise deemed to
         accept service, by first class mail, postage prepaid, on any counsel that has appeared on the
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         claimant’s behalf in the Chapter 11 Case (so long as such appearance has not been subsequently
         withdrawn). From and after the Effective Date, the Debtor, in its sole discretion, shall have
         exclusive authority to settle or compromise any Disputed Claim without approval of the
         Bankruptcy Court.

                9.3.     Estimation of Claims

                         The Debtor may request that the Bankruptcy Court enter an Estimation Order with
         respect to any Claim, pursuant to section 502(c) of the Bankruptcy Code, for purposes of
         determining the Allowed amount of such Claim regardless of whether any Person has previously
         objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
         Bankruptcy Court shall retain jurisdiction to estimate any Claim at any time (including during
         the pendency of any appeal with respect to the allowance or disallowance of such Claims). In
         the event that the Bankruptcy Court estimates any contingent or unliquidated Claim for
         allowance or distribution purposes, that estimated amount will constitute either the Allowed
         amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
         Court. If the estimated amount constitutes a maximum limitation on such Claim, the objecting
         party may elect to pursue any supplemental proceedings to object to any ultimate allowance of
         such Claim. All of the objection, estimation, settlement, and resolution procedures set forth in
         the Plan are cumulative and not exclusive of one another. Claims may be estimated and
         subsequently compromised, settled, resolved or withdrawn by any mechanism approved by the
         Bankruptcy Court.

                9.4.     Expenses Incurred on or After the Effective Date.

                         Except as otherwise ordered by the Bankruptcy Court, and subject to the written
         agreement of the Debtor, the amount of any reasonable fees and expenses incurred by any
         Professional Person or the Claims Agent on or after the Effective Date in connection with
         implementation of this Plan, including reconciliation of, objection to, and settlement of Claims,
         shall be paid in Cash by the Debtor.


                          EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                10.1.    General Treatment.

                         As of and subject to the occurrence of the Effective Date and the payment of any
         applicable Cure Amount, all executory contracts and unexpired leases of the Debtor shall be
         deemed assumed except that: (a) any executory contracts and unexpired leases that previously
         have been assumed, assumed and assigned, or rejected pursuant to a Final Order of the
         Bankruptcy Court shall be treated as provided in such Final Order; (b) any executory contracts
         and unexpired leases listed on the Schedule of Rejected Contracts and Leases shall be deemed
         rejected as of the Effective Date; and (c) all executory contracts and unexpired leases that are the
         subject of a separate motion to assume or reject under section 365 of the Bankruptcy Code
         pending on the Effective Date shall be treated as provided for in the Final Order resolving such
         motion. Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
         will not constitute a termination of obligations owed to the Debtor under such contract or lease
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         that survive breach under applicable law. Subject to the occurrence of the Effective Date, entry
         of the Confirmation Order by the Bankruptcy Court shall constitute approval of the assumptions,
         assumptions and assignments and rejections described in this Section 10.1 pursuant to sections
         365(a) and 1123 of the Bankruptcy Code. Each executory contract and unexpired lease assumed
         pursuant to this Section 10.1 shall revest in and be fully enforceable by the Debtor in accordance
         with its terms, except as modified by the provisions of the Plan, or any order of the Bankruptcy
         Court authorizing and providing for its assumption, or applicable federal law. Nothing contained
         in this Plan or the listing of a document on the Schedule of Rejected Contracts and Leases, or the
         Cure Schedule shall constitute an admission by the Debtor that such document is an executory
         contract or an unexpired lease or that the Debtor or its successors and assigns has any liability
         thereunder.

                10.2.   Claims Based on Rejection of Executory Contracts or Unexpired Leases.

                         All Claims arising from the rejection of executory contracts or unexpired leases, if
         evidenced by a timely filed proof of claim, will be treated as General Unsecured Claims. In the
         event that the rejection of an executory contract or unexpired lease by the Debtor pursuant to the
         Plan results in damages to the other party or parties to such contract or lease, a Claim for such
         damages, if not evidenced by a timely filed proof of claim, shall be forever barred and shall not
         be enforceable against the Debtor or its properties or interests in property or its agents,
         successors or assigns, unless a proof of claim is filed with the Bankruptcy Court and served upon
         counsel for the Debtor on or before the date that is thirty (30) days after the effective date of such
         rejection (which may be the Effective Date, the date on which the Debtor rejects the applicable
         contract or lease as provided in Section 10.1 of this Plan, or pursuant to an order of the
         Bankruptcy Court).

               10.3. Cure of Defaults for Assumed or Assumed and Assigned Executory Contracts
         and Unexpired Leases.

                           (a)     Except to the extent that less favorable treatment has been agreed to by the
         non-Debtor party or parties to each such executory contract or unexpired lease to be assumed or
         assumed and assigned pursuant to the Plan, any monetary defaults arising under such executory
         contract or unexpired lease shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
         Code, by payment of the appropriate amount (the “Cure Amount”) in full in Cash on the later of:
         (i) the Effective Date; (ii) thirty (30) days after the date of entry of a Final Order providing for
         the assumption, or the assumption and assignment, of such executory contract or unexpired
         lease; or (iii) the date on which any Cure Dispute relating to such Cure Amount has been
         resolved (either consensually or through judicial decision).

                       (b)      With respect to any executory contract or unexpired lease to be assumed
         or assumed and assigned pursuant to Section 10.1 of this Plan, the Debtor shall file a schedule (a
         “Cure Schedule”) with the Plan Supplement setting forth the Cure Amount, if any, for each
         executory contract or unexpired lease to be assumed or assumed and assigned by the Debtor.

                        (c)     In the event of a dispute (each, a “Cure Dispute”) regarding: (i) the Cure
         Amount; (ii) the ability of the Debtor to provide “adequate assurance of future performance”
         (within the meaning of section 365 of the Bankruptcy Code) under the contract or lease to be
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         assumed or assumed and assigned; or (iii) any other matter pertaining to the proposed
         assumption or assumption and assignment, the cure payments required by section 365(b)(1) of
         the Bankruptcy Code shall be made following the entry of a Final Order resolving such Cure
         Dispute and approving the assumption or assumption and assignment. To the extent a Cure
         Dispute relates solely to the Cure Amount, the Debtor may assume and/or assume and assign the
         applicable contract or lease prior to the resolution of the Cure Dispute. To the extent the Cure
         Dispute is resolved or determined against the Debtor, the Debtor may reject the applicable
         executory contract or unexpired lease after such determination, and the counterparty may
         thereafter file a proof of claim in the manner set forth in Section 10.2 of this Plan.

                10.4.   Effect of Confirmation Order on Assumption, Assumption and Assignment, and
         Rejection.

                          Subject to the occurrence of the Effective Date, entry of the Confirmation Order
         by the Bankruptcy Court shall constitute entry of an order by the Bankruptcy Court pursuant to
         sections 365(a) and 1123(b) of the Bankruptcy Code approving the assumptions, assumptions
         and assignments and rejections described in this Article X and determining that: (a) with respect
         to such rejections, such rejected executory contracts and unexpired leases are burdensome and
         that the rejection therein is in the best interests of the Estate; (b) with respect to such
         assumptions, to the extent necessary, that the Debtor has (i) cured, or provided adequate
         assurance that the Debtor will promptly cure, any default in accordance with section
         365(b)(1)(A) of the Bankruptcy Code, (ii) compensated or provided adequate assurance that it or
         an Affiliate will promptly compensate the counterparty for any actual pecuniary loss to such
         party resulting from such default, and (iii) provided adequate assurance of future performance
         under such executory contract or unexpired lease; and (c) with respect to any assignment, to the
         extent necessary, that the Debtor or the proposed assignee has (i) cured, or provided adequate
         assurance that it or an Affiliate will promptly cure, any default in accordance with section
         365(b)(1)(A) of the Bankruptcy Code, (ii) compensated or provided adequate assurance that the
         Debtor or the proposed assignee will promptly compensate the counterparty for any actual
         pecuniary loss to such party resulting from such default, and (iii) that “adequate assurance of
         future performance” (within the meaning of section 365 of the Bankruptcy Code) by the assignee
         has been demonstrated and no further adequate assurance is required. Assumption of any
         executory contract or unexpired lease and satisfaction of the Cure Amounts shall result in the full
         discharge, release and satisfaction of any claims or defaults, whether monetary or nonmonetary,
         including defaults of provisions restricting the change in control or ownership interest
         composition or other bankruptcy-related defaults, arising under any assumed executory contract
         or unexpired lease at any time before the date such executory contract or unexpired lease is
         assumed. Each executory contract and unexpired lease assumed pursuant to this Article X shall
         revest in and be fully enforceable by the Debtor in accordance with its terms, except as modified
         by the provisions of the Plan, or any order of the Bankruptcy Court authorizing and providing for
         its assumption, or applicable federal law. To the maximum extent permitted by law, to the extent
         any provision in any executory contract or unexpired lease assumed pursuant to the Plan restricts
         or prevents, or purports to restrict or prevent, or is breached or deemed breached by, the
         assumption of such executory contract or unexpired lease (including any “change of control”
         provision), then such provision shall be deemed modified such that the transactions contemplated
         by the Plan shall not entitle the non-Debtor party thereto to terminate such executory contract or
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         unexpired lease or to exercise any other default-related rights with respect thereto. Any party that
         fails to timely file a Cure Dispute on the basis that consent to assume or assume and assign the
         applicable executory contract or unexpired lease is a condition to such assumption or assumption
         and assignment, shall be deemed to have consented to the assumption or assumption and
         assignment, as applicable, of such contract or unexpired lease.

                10.5.   Permits, Licenses, Easements and Similar Interests

                         Subject to the occurrence of the Effective Date, entry of the Confirmation Order
         by the Bankruptcy Court shall constitute entry of an order by the Bankruptcy Court pursuant to
         sections 365(a) and 1123(b) of the Bankruptcy Code approving the assumptions of all permits,
         licenses, easements and similar interests unless any of the foregoing has been previously rejected
         or is rejected under the Plan or otherwise. To the extent permitted under applicable law, the
         Debtor shall be authorized, on and after the Effective Date, to operate under any license, permit,
         registration, and governmental authorization or approval of the Debtor, and pursuant to the terms
         of the Confirmation Order, all such licenses, permits, registrations, and governmental
         authorizations or approvals shall be deemed to be assumed by the Debtor as of the Effective
         Date. To the extent provided by section 525 of the Bankruptcy Code, and subject to entry of the
         Confirmation Order, no governmental unit may deny, revoke, suspend, or refuse to renew any
         permit, license, or similar grant relating to the operation of the Debtor on account of the filing or
         pendency of the chapter 11 case or the consummation of the transactions contemplated under this
         Plan.

                         To the maximum extent permitted by law, any provision that purports to restrict
         or prevent the assumption or assignment of any such permit, license, easement or similar interest
         or is breached or deemed breached by the assumption or assignment of any such permit, license,
         easement or similar interest (including any “change of control” provision) shall be deemed
         modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor
         party thereto to terminate such permit, license, easement or similar interest or to exercise other
         default-related rights with respect thereto. Any party that fails to timely file a Cure Dispute on
         the basis that consent to assume or assume and assign the applicable permit, license, easement or
         similar interest is a condition to such assumption or assumption and assignment, shall be deemed
         to have consented to such assumption or assumption and assignment.

                10.6.   Assumption of Directors and Officers Insurance Policies

                         To the extent that the D&O Liability Insurance Policies issued to, or entered into
         by, the Debtor prior to the Petition Date constitute executory contracts, notwithstanding anything
         in the Plan to the contrary, the Debtor shall be deemed to have assumed all of its unexpired D&O
         Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the
         Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
         of the Debtor’s foregoing assumption of each of the D&O Liability Insurance Policies.
         Notwithstanding anything to the contrary contained in the Plan, confirmation of the Plan shall
         not discharge, impair or otherwise modify any advancement, indemnity or other obligations of
         the D&O Liability Insurance Policies.


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                         In addition, after the Effective Date, the Debtor shall not terminate or otherwise
         reduce the coverage under any of the D&O Liability Insurance Policies with respect to conduct
         occurring prior thereto, and all directors, managers and officers of the Debtor who served in such
         capacity at any time prior to the Effective Date shall be entitled from the applicable insurers to
         the full benefits of any such policy for the full term of such policy regardless of whether such
         directors, managers and officers remain in such positions after the Effective Date.

                         On or before the Effective Date, the Debtor shall purchase and maintain directors,
         managers, officers and employee liability tail coverage for the six year period following the
         Effective Date on terms no less favorable than the Debtor’s existing director, manager, officer
         and employee coverage and with an aggregate limit of liability upon the Effective Date of no less
         than the aggregate limit of liability under the existing director, officer, manager, and employee
         coverage upon placement. From and after the Effective Date, reasonable directors, managers and
         officers insurance policies shall remain in place in the ordinary course.

                10.7.   Assumption of Certain Indemnification Obligations

                          Each Indemnification Obligation to a current or former director, officer, manager
         or employee who was employed by the Debtor in such capacity on or after the Petition Date
         (including, for the avoidance of doubt, the members of the board of directors, board of managers
         or equivalent body of the Debtor at any time) shall be deemed assumed effective as of the
         Effective Date. Each Indemnification Obligation that is deemed assumed pursuant to the Plan
         shall (a) remain in full force and effect, (b) not be modified, reduced, discharged, impaired or
         otherwise affected in any way, (c) be deemed and treated as an executory contract pursuant to
         sections 365 and 1123 of the Bankruptcy Code regardless of whether or not proofs of claim have
         been filed with respect to such obligations and (d) survive Unimpaired and unaffected
         irrespective of whether such indemnification is owed for an act or event occurring before, on or
         after the Petition Date.

                         Any obligations of the Debtor (whether pursuant to its certificate of formation,
         operating agreement, limited liability company agreement, other organizational documents,
         board resolutions, member resolutions, indemnification agreements, employment contracts,
         policy of providing employee indemnification, applicable state law, specific agreement in respect
         of any claims, demands, suits, causes of action or proceedings against such Persons or
         agreements, including amendments, or otherwise) entered into at any time prior to the Effective
         Date, to indemnify, reimburse or limit the liability of the current and former directors, officers,
         managers, employees, attorneys, accountants, investment bankers and other professionals of the
         Debtor, as applicable, in each case, based upon any act or omission related to such Persons’
         service with, for or on behalf of the Debtor prior to the Effective Date with respect to all present
         and future actions, suits and proceedings relating to the Debtor shall survive the Confirmation
         Order and, except as set forth herein, remain unaffected thereby, and shall not be discharged,
         irrespective of whether such defense, indemnification, reimbursement or limitation of liability
         accrued or is owed in connection with an occurrence before or after the Petition Date. Any
         Claim based on the Debtor’s obligations set forth in this Section 10.7 shall not be a Disputed
         Claim or subject to any objection in either case by reason of section 502(e)(1)(B) of the
         Bankruptcy Code. This provision for indemnification obligations shall not apply to or cover any
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         Causes of Action against a Person that result in a Final Order determining that such Person
         seeking indemnification is liable for fraud, willful misconduct, gross negligence, bad faith, self-
         dealing or breach of the duty of loyalty.

                  In connection with the foregoing, on the Effective Date, the Debtor shall establish and
         fund the Indemnification Escrow Account with Cash equal to $2,500,000. Funds held in the
         Indemnification Escrow Account shall not be considered property of the Debtor’s Estate or
         property of the Debtor and, to the extent such obligations are not satisfied by the Debtor or under
         any applicable D&O Liability Insurance Policy, such funds shall be utilized by the Debtor to
         satisfy the Debtor’s obligations under this Section 10.7. Funds remaining in the Indemnification
         Escrow Account after six (6) years, if any, shall revert to and become property of the Debtor;
         provided, that (i) the Debtor’s obligations under this Section 10.7 shall not be limited by nor
         deemed limited to the balance of the funds held in the Indemnification Escrow Account, and (ii)
         such reversion shall not take place unless and until any claims that have been asserted and are
         covered by the Indemnification Escrow Account have been resolved. No Liens, claims or
         interests shall encumber the Indemnification Escrow Account in any way.



                                        CONDITIONS PRECEDENT TO
                                       CONSUMMATION OF THE PLAN

                11.1.   Conditions Precedent to the Effective Date.

                        The occurrence of the Effective Date is subject to:

                        (a)     the RSA remaining in full force and effect;

                        (b)     an order approving the New O&M Agreement, in form and substance
         reasonably acceptable to the Debtor and Cobra having been entered by the Bankruptcy Court and
         remaining in full force and effect;

                        (c)     the Disclosure Statement Order, in form and substance reasonably
         acceptable to the Debtor, Cobra and DOE having been entered by the Bankruptcy Court and
         remaining in full force and effect;

                        (d)     the Confirmation Order, in form and substance reasonably acceptable to
         the Debtor, Cobra, DOE and the Prepetition Collateral Agent, having become a Final Order and
         remaining in full force and effect;

                        (e)    the Plan Documents, including the Plan Supplement, in form and
         substance acceptable to the Debtor, Cobra, DOE and the Prepetition Collateral Agent, being filed
         with the Bankruptcy Court, executed and delivered, and any conditions (other than the
         occurrence of the Effective Date or certification by the Debtor that the Effective Date has
         occurred) contained therein having been satisfied or waived in accordance therewith;


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                        (f)     a chapter 11 trustee, a responsible officer, or an examiner with enlarged
         powers relating to the operation of the businesses of the Debtor (powers beyond those set forth in
         section 1106(a)(3) and (4) of the Bankruptcy Code) not having been appointed in any of the
         Chapter 11 Case;

                         (g)     all material governmental, regulatory and third party approvals,
         authorizations, certifications, rulings, no-action letters, opinions, waivers and/or consents
         required in connection with the Plan, including all necessary consents or approvals of and any
         required registration or filing with or notice to, the Federal Trade Commission (in such case,
         solely with respect to the requirements of the Hart-Scott-Rodino Act), the Committee on Foreign
         Investment in the United States, the Bureau of Land Management, the Federal Communications
         Commission, and the Federal Energy Regulatory Commission, having been obtained or made, as
         applicable, and remaining in full force and effect, and there existing no claim, action, suit,
         investigation, litigation or proceeding, pending or threatened in any court or before any arbitrator
         or governmental instrumentality, which would prohibit the consummation of the Plan;
                          (h)   the Amended Constituent Documents, in form and substance acceptable to
         the Debtor and Cobra, shall have been filed with the applicable authorities of the relevant
         jurisdictions of formation and shall have become effective in accordance with such jurisdictions’
         limited liability company laws;

                         (i)     the Exit Credit Facility Agreement and Exit Contingent Note having been
         executed and delivered, and the DOE having received the $200 million cash payment provided
         for in Section 5.3 of the Plan; and

                         (j)     an amendment to the EPC Contract having been executed and delivered,
         such that, effective as of the Effective Date (i) each of the Total Liquidity Commitment, the
         Unfunded Liquidity Commitment and the Unfunded Additional Liquidity Commitment (each as
         defined in the EPC Contract) is reduced to zero, and (ii) all obligations of Contractor or under the
         Parent Guaranty (each as defined in the EPC Contract) under Section 8 of Amendment No. 1 to
         the EPC Contract or any other provision of the EPC Contract or any related agreement or
         document, are in each case, terminated.

                11.2.   Satisfaction and Waiver of Conditions Precedent.

                          Except as otherwise provided herein, any actions taken on the Effective Date shall
         be deemed to have occurred simultaneously and no such action shall be deemed to have occurred
         prior to the taking of any other such action. Any of the conditions set forth in Section 11.1 of
         this Plan may be waived in whole or in part, if acceptable to the Debtor, Cobra and DOE,
         without notice and a hearing, and the Debtor’s benefits under any “mootness” doctrine shall be
         unaffected by any provision hereof. The failure to satisfy or waive any condition may be
         asserted by the Debtor regardless of the circumstances giving rise to the failure of such condition
         to be satisfied (including any act, action, failure to act or inaction by the Debtor). The failure of
         the Debtor to assert the non-satisfaction of any such conditions shall not be deemed a waiver of
         any other rights hereunder, and each such right shall be deemed an ongoing right that may be
         asserted or waived (as set forth herein) at any time or from time to time.

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                11.3.   Effect of Failure of Conditions Precedent to the Effective Date.

                          If all of the conditions to effectiveness have not been satisfied (as provided in
         Section 11.1 hereof) or duly waived (as provided in Section 11.2 hereof) and the Effective Date
         has not occurred on or before the first Business Day that is more than 150 days after the
         Confirmation Date, or by such later date as set forth by the Debtor, with the consent of Cobra
         and DOE, in a notice filed with the Bankruptcy Court prior to the expiration of such period, then,
         if reasonably acceptable to the Debtor, Cobra and DOE, the Debtor may file a motion to vacate
         the Confirmation Order. Notwithstanding the filing of such a motion, the Confirmation Order
         shall not be vacated if all of the conditions to consummation set forth in Section 11.1 hereof are
         either satisfied or duly waived before the Bankruptcy Court enters an order granting the relief
         requested in such motion. If the Confirmation Order is vacated pursuant to this Section 11.3, this
         Plan (other than this Section 11.3) shall be null and void in all respects, the Confirmation Order
         shall be of no further force or effect, no Plan Distributions shall be made, the Debtor and all
         holders of Claims and Interests shall be restored to the status quo ante as of the day immediately
         preceding the Confirmation Date as though the Confirmation Date had never occurred, and upon
         such occurrence, nothing contained in this Plan shall: (a) constitute a waiver or release of any
         Claims against or Interests in the Debtor; (b) prejudice in any manner the rights of the holder of
         any Claim against or Interest in the Debtor; or (c) constitute an admission, acknowledgment,
         offer or undertaking by the Debtor or any other Person with respect to any matter set forth in the
         Plan.



                                            EFFECT OF CONFIRMATION

                12.1.   Binding Effect.

                         Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and
         subject to the occurrence of the Effective Date, on and after the Confirmation Date, the
         provisions of this Plan shall bind any holder of a Claim against, or Interest in, the Debtor and
         inure to the benefit of and be binding on such holder’s respective successors and assigns,
         whether or not the Claim or Interest of such holder is impaired under this Plan and whether or
         not such holder has accepted this Plan.

                12.2.   Discharge of Claims Against and Interests in the Debtor.

                         Upon the Effective Date and in consideration of the Plan Distributions, except as
         otherwise provided herein or in the Confirmation Order (including with respect to Claims left
         unimpaired by this Plan), each Person that is a holder (as well as any trustees and agents for or
         on behalf of such Person) of a Claim or Interest shall be deemed to have forever waived,
         released, and discharged the Debtor, to the fullest extent permitted by section 1141 of the
         Bankruptcy Code, of and from any and all Claims, Interests, rights and liabilities that arose prior
         to the Effective Date. Except as otherwise provided herein, upon the Effective Date, all such
         holders of Claims and Interests shall be forever precluded and enjoined, pursuant to sections 105,
         524, 1141 of the Bankruptcy Code, from prosecuting or asserting any such discharged Claim
         against or terminated Interest in the Debtor or any property, wherever located, of the Estate.
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                12.3.   Term of Pre-Confirmation Injunctions or Stays.

                        Unless otherwise provided herein, all injunctions or stays provided in the Chapter
         11 Case arising prior to the Confirmation Date in accordance with sections 105 or 362 of the
         Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
         force and effect until the Effective Date.

                12.4.   Injunction Against Interference with Plan.

                          Upon the entry of the Confirmation Order, all holders of Claims and Interests and
         other Persons, along with their respective present or former Affiliates, employees, agents,
         officers, directors, or principals, shall be enjoined from taking any actions, whether in the United
         States or elsewhere, to interfere with the implementation or consummation of this Plan.
         Moreover, Bankruptcy Code section 1141(c) provides, among other things, that the property
         dealt with by this Plan is free and clear of all Claims and Interests (except as otherwise provided
         in this Plan or the Confirmation Order). As such, to the fullest extent permissible under
         applicable law, no Person holding a Claim or Interest may receive any payment from, or seek
         recourse against, any assets that are to be distributed under this Plan other than assets required to
         be distributed to that Person under this Plan. As of the Confirmation Date, to the fullest extent
         permissible under applicable law, all Persons are precluded and barred from asserting against any
         property to be distributed under this Plan any Claims, rights, Causes of Action, liabilities,
         Interests, or other action or remedy based on any act, omission, transaction, or other activity that
         occurred before the Confirmation Date except as expressly provided in this Plan or the
         Confirmation Order.

                12.5.   Injunction.

                         (a)    Except as otherwise specifically provided in this Plan or the
         Confirmation Order, as of the Confirmation Date, but subject to the occurrence of the
         Effective Date, all Persons or Entities who have held, hold or may hold Claims against
         and/or Interests in the Debtor or the Estate, and all other parties in interest, along with
         their present or former employees, agents, officers, directors, principals, representatives
         and Affiliates are, with respect to any such Claims or Interests, permanently enjoined after
         the Confirmation Date from: (i) commencing, conducting or continuing in any manner,
         directly or indirectly, any suit, action or other proceeding of any kind (including any
         proceeding in a judicial, arbitral, administrative or other forum) against or affecting the
         Debtor, its Estate or any of its property, wherever located, or any direct or indirect
         transferee of any property, wherever located, of, or direct or indirect successor in interest
         to, any of the foregoing Persons or any property, wherever located, of any such transferee
         or successor; (ii) enforcing, levying, attaching (including any pre-judgment attachment),
         collecting or otherwise recovering by any manner or means, whether directly or indirectly,
         any judgment, award, decree or order against the Debtor, or its Estate or any of its
         property, wherever located, or any direct or indirect transferee of any property, wherever
         located, of, or direct or indirect successor in interest to, any of the foregoing Persons, or
         any property, wherever located, of any such transferee or successor; (iii) creating,
         perfecting or otherwise enforcing in any manner, directly or indirectly, any encumbrance
         of any kind against the Debtor or its Estate or any of its property, wherever located, or any
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         direct or indirect transferee of any property, of, or successor in interest to, any of the
         foregoing Persons; (iv) acting or proceeding in any manner, in any place whatsoever, that
         does not conform to or comply with the provisions of this Plan to the full extent permitted
         by applicable law (including, without limitation, commencing or continuing, in any manner
         or in any place, any action that does not comply with or is inconsistent with the provisions
         of this Plan) to the fullest extent permitted by applicable law, or (v) asserting any right of
         setoff, subrogation or recoupment of any kind against any obligation due from the Debtor
         or its Estate, or against the property or interests in property of the Debtor or its Estate,
         with respect to any such Claim or Interest. Such injunction shall extend to any successors
         or assignees of the Debtor and its properties and interest in properties; provided, however,
         that nothing contained herein shall preclude such Persons from exercising their rights, or
         obtaining benefits, pursuant to and consistent with the terms of this Plan including with
         respect to Claims left unimpaired by this Plan.

                        (b)   By accepting Plan Distributions, each holder of an Allowed Claim or
         Interest will be deemed to have specifically consented to the injunctions set forth in this
         Section 12.5.

                12.6.   Releases.

                        (a)     Releases by the Debtor. Pursuant to section 1123(b) of the
         Bankruptcy Code, and except as otherwise specifically provided in the Plan or the
         Confirmation Order, on and after the Effective Date, for good and valuable consideration,
         including their cooperation and contributions to the Chapter 11 Case, the Released Parties
         (other than the Debtor) shall be deemed released and discharged by the Debtor and its
         Estate from any and all Claims, obligations, debts, rights, suits, damages, Causes of Action,
         remedies and liabilities whatsoever, whether known or unknown, foreseen or unforeseen,
         asserted or unasserted, existing or hereinafter arising, in law, equity or otherwise, whether
         for tort, fraud, contract, violations of federal or state laws or otherwise, including the ICC
         Arbitration and the Avoidance Actions; Causes of Action based on veil piercing or alter-
         ego theories of liability, contribution, indemnification, joint liability or otherwise that the
         Debtor, its Estate could have asserted in their own right (whether individually or
         collectively) or on behalf of the holder of any Claim or Interest or other Entity or that any
         holder of a Claim or Interest or other Entity could have asserted derivatively for or on
         behalf of the Debtor, or its Estate, based on, relating to or in any manner arising from, in
         whole or in part, the Debtor; its Estate; the purchase, sale or rescission of the purchase or
         sale of any security of the Debtor; the Crescent Dunes Solar Energy Project; the subject
         matter of, or the transactions or events giving rise to, any Claim or Interest that is treated
         in the Plan; the business or contractual arrangements between the Debtor and any
         Released Party (excluding any assumed executory contract or lease); the restructuring of
         Claims and Interests prior to or in the Chapter 11 Case; the negotiation, formulation or
         preparation of the Plan, the RSA, the Disclosure Statement, the Plan Supplement, the
         Chapter 11 Case, or, in each case, related agreements, instruments, or other documents or
         upon any other related act or omission, transaction, agreement, event or other occurrence
         taking place on or before the Effective Date.


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                        (b)     Debtor and Cobra Releases. The Debtor and Cobra only
         unconditionally and irrevocably release the DOE and the Prepetition Collateral Agent, and
         each of their respective financial advisors and attorneys, for any claims or Causes of Action
         arising out of or related to the Prepetition Note Claim and/or the Crescent Dunes Solar
         Energy Project.

                        (c)    DOE Releases. DOE only unconditionally and irrevocably releases
         the Debtor and Cobra, and each of their respective financial advisors and attorneys, from
         (i) the Prepetition Note Claim and (ii) any claims or Causes of Action arising out of or
         relating to the Prepetition Note Claim and/or the Crescent Dunes Solar Energy Project.

                         Notwithstanding anything to the contrary in this Plan, including section
         12.6(a), without conceding the existence or merits thereof, neither the above paragraphs
         nor the Plan releases: (i) any civil, criminal or administrative liability arising under Title
         26 of the United States Code (the Internal Revenue Code); (ii) any criminal liability; (iii)
         any liability under subchapter III of chapter 37 of Title 31 of the United States Code; (iv)
         any liability that is based on conduct in violation of antitrust laws; (v) any claim of any
         agency of the United States of America other than DOE; (v) the Debtor’s and Cobra’s
         obligations under Section 5.3(b) of the Plan regarding the Prepetition Note Claim.

                         (d)    Releases by the Third Party Releasing Parties. Except as otherwise
         specifically provided in this Plan or the Confirmation Order, on and after the Effective
         Date, for good and valuable consideration, including the obligations of the Debtor under
         this Plan, the Plan Consideration and other contracts, instruments, releases, agreements or
         documents executed and delivered in connection with this Plan, each Third Party Releasing
         Party who affirmatively opts to grant the releases set forth herein shall be deemed to have
         consented to this Plan and the restructuring embodied herein for all purposes, and shall be
         deemed to have conclusively, absolutely, unconditionally, irrevocably and forever released
         and discharged the Released Parties from any and all Claims, Interests, obligations, debts,
         rights, suits, damages, Causes of Action, remedies and liabilities whatsoever, whether
         known or unknown, foreseen or unforeseen, asserted or unasserted, existing or hereinafter
         arising, in law, equity or otherwise, whether for tort, fraud, contract, violations of federal
         or state laws or otherwise, including the ICC Arbitration and the Avoidance Actions,
         Causes of Action based on veil piercing or alter-ego theories of liability, contribution,
         indemnification, joint liability or otherwise that such Third Party Releasing Party could
         have asserted (whether individually or collectively), based on, relating to or in any manner
         arising from, in whole or in part, the Debtor; the Estate; the Chapter 11 Case; the
         purchase, sale or rescission of the purchase or sale of any security of the Debtor; the
         Crescent Dunes Solar Energy Project; the subject matter of, or the transactions or events
         giving rise to, any Claim or Interest that is treated in the Plan; the business or contractual
         arrangements between the Debtor and any Released Party (excluding any assumed
         executory contract or lease); the restructuring of Claims and Interests prior to or in the
         Chapter 11 Case; the negotiation, formulation or preparation of the Plan, the RSA, the
         Disclosure Statement, the Plan Supplement, the Prepetition Note Documents, or this Plan
         or the Disclosure Statement, or, in each case, related agreements, instruments or other
         documents, or upon any other related act or omission, transaction, agreement, event or
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         other occurrence taking place on or before the Effective Date; provided, that any party
         that affirmatively opts out of chooses not to opt in to the releases contained herein shall not
         receive the benefit of the releases set forth in the Plan (even if for any reason otherwise
         entitled). Notwithstanding anything contained herein to the contrary, the foregoing release
         shall not release any obligation of any party under the Plan, or any other document,
         instrument, or agreement executed to implement the Plan.

                         (e)     Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
         approval, pursuant to Bankruptcy Rule 9019, of the releases described in the Plan, which
         includes by reference each of the related provisions and definitions contained in the Plan, and
         further, shall constitute its finding that each release described in the Plan is: (i) in exchange for
         the good and valuable consideration provided by the Released Parties, a good faith settlement
         and compromise of such Claims; (ii) in the best interests of the Debtor and all Third Party
         Releasing Parties; (ii) fair, equitable and reasonable; (iv) given and made after due notice and
         opportunity for hearing; and (v) a bar to the Debtor and all Third Party Releasing Parties
         asserting any claim, Cause of Action or liability related thereto, of any kind whatsoever, against
         any of the Released Parties or their property.

                12.7.   Waiver of Limitations on Releases of Unknown Claims.

                        Each of the Debtor, the Third Party Releasing Parties and DOE agree to
         acknowledge that the releases contained in Sections 12.6(a), 12.6(b), 12.6(c) and 12.6(d) will
         extend to and release claims that such parties do not know or expect to exist at the time of
         the release, which, if known, might have affected the decision to enter into the release and
         which such parties will be deemed to waive, and will waive and relinquish to the fullest
         extent permitted by law, any and all provisions, rights, and benefits conferred by any law
         of the United States of America or any state or territory thereof, or principle of common
         law, which governs or limits a person's release of unknown claims that such parties will
         deemed to waive, and will waive and relinquish, to the fullest extent permitted by law, the
         provisions, rights, and benefits of Section 1542 of the California Civil Code, which provides
         as follows:

                        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                        WHICH THE CREDITOR DOES NOT KNOW OR
                        SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
                        TIME OF EXECUTING THE RELEASE, WHICH IF
                        KNOWN BY HIM OR HER MUST HAVE MATERIALLY
                        AFFECTED HIS OR HER SETTLEMENT WITH THE
                        DEBTOR.

                 The Debtor, the Third Party Releasing Parties and DOE will also be deemed to
         waive any and all provisions, rights, and benefits conferred by any law of any state or
         territory of the United States of America, or principle of common law, which is similar,
         comparable, or equivalent to California Civil Code Section 1542. Such parties shall be
         deemed to acknowledge that they may discover facts in addition to or different from those
         that they now know or believe to be true with respect to the subject matter of the releases
         given in Sections 12.6(a), 12.6(b), 12.6(c) and 12.6(d), but that it is the intention of such
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         parties to fully, finally, and forever settle and release with prejudice any and all claims,
         including any and all unknown claims, without regard to the subsequent discovery or
         existence of additional or different facts. Such parties expressly agree that any fraudulent
         inducement or similar claims that could be premised on unknown facts or facts that are
         subsequently discovered are included within the definition of unknown claims.

                12.8.   Exculpation and Limitation of Liability.

                         On the Effective Date, except as otherwise provided in the Plan or the
         Confirmation Order, for good and valuable consideration, to the maximum extent
         permissible under applicable law, none of the Exculpated Parties shall have or incur any
         liability to any holder of any Claim or Interest or any other Person for any act or omission
         occurring prior to the Effective Date in connection with, or arising out of the Debtor’s
         restructuring, including the negotiation, implementation and execution of this Plan, the
         Plan Supplement, the Chapter 11 Case, the Prepetition Note Documents, the solicitation of
         votes for and the pursuit of confirmation of this Plan, the consummation of this Plan, or the
         administration of this Plan or the property to be distributed under this Plan, including all
         documents ancillary thereto, all decisions, actions, inactions and alleged negligence or
         misconduct relating thereto and all activities leading to the promulgation and confirmation
         of this Plan except for gross negligence or willful misconduct, each as determined by a
         Final Order of the Bankruptcy Court. For purposes of the foregoing, it is expressly
         understood that any act or omission effected with the approval of the Bankruptcy Court
         conclusively will be deemed not to constitute gross negligence or willful misconduct unless
         the approval of the Bankruptcy Court was obtained by fraud or misrepresentation, and in
         all respects, the applicable Persons shall be entitled to rely on the advice of counsel with
         respect to their duties and responsibilities under, or in connection with, the Chapter 11
         Case, the Plan, and administration thereof. The Exculpated Parties have, and upon
         confirmation of the Plan shall be deemed to have, participated in good faith and in
         compliance with the applicable provisions of the Bankruptcy Code with regard to the
         distributions of the securities pursuant to the Plan and, therefore, are not, and on account
         of such distributions shall not be, liable at any time for the violation of any applicable law,
         rule or regulation governing the solicitation of acceptances or rejections of the Plan or such
         distributions made pursuant to the Plan.

                12.9.   Injunction Related to Releases and Exculpation.

                         The Confirmation Order shall permanently enjoin the commencement or
         prosecution by any Person, whether directly, derivatively or otherwise, of any claims,
         obligations, suits, judgments, damages, demands, debts, rights, Causes of Action or
         liabilities released pursuant to this Plan, including the claims, obligations, suits, judgments,
         damages, demands, debts, rights, Causes of Action and liabilities released in or
         encompassed by Sections 12.6 and 12.7 of this Plan. The Debtor is expressly authorized
         hereby to seek to enforce such injunction.

                12.10. Retention of Causes of Action/Reservation of Rights.


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                          (a)     Except as expressly provided in this Plan or in the Confirmation Order,
         nothing contained in this Plan or the Confirmation Order shall be deemed to be a waiver or
         relinquishment of any rights or Causes of Action that the Debtor or the Estate may have, or that
         the Debtor may choose to assert on behalf of its Estate, under any provision of the Bankruptcy
         Code or any applicable non-bankruptcy law, including, without limitation, (i) any and all Causes
         of Action or claims against any Person or Entity, to the extent such Person or Entity asserts a
         crossclaim, counterclaim and/or claim for setoff that seeks affirmative relief against the Debtor,
         its officers, directors or representatives or (ii) the turnover of any property of the Estate to the
         Debtor.

                         (b)    Except as expressly provided in this Plan or in the Confirmation Order,
         nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
         relinquishment of any rights or Causes of Action that the Debtor had immediately prior to the
         Petition Date or the Effective Date against or regarding any Claim left Unimpaired by the Plan.
         The Debtor shall have, retain, reserve and be entitled to commence, assert and pursue all such
         rights and Causes of Action as fully as if the Chapter 11 Case had not been commenced, and all
         of the Debtor’s legal and equitable rights respecting any Claim left Unimpaired by the Plan may
         be asserted after the Confirmation Date to the same extent as if the Chapter 11 Case had not been
         commenced.

                        (c)     Except as expressly provided in this Plan or in the Confirmation Order,
         nothing contained in the Plan or the Confirmation Order shall be deemed to release any post-
         Effective Date obligations of any party under the Plan, or any document, instrument or
         agreement (including those set forth in the Plan Supplement) executed to implement the Plan.

                12.11 Retention of United States Causes of Action/Reservation of Rights.

                           Except with respect to the releases provided by DOE pursuant to Section 12.6(c)
         of the Plan, nothing discharges or releases the Debtor or any non-debtor from any right, claim,
         liability or cause of action of the United States or any State, or impairs the ability of the United
         States or any State to pursue any claim, liability, right, defense, or cause of action against any
         Debtor or non-debtor. Contracts, purchase orders, agreements, leases, covenants, guaranties,
         indemnifications, operating rights agreements or other interests of or with the United States or
         any State shall be, subject to any applicable legal or equitable rights or defenses of the Debtor
         under applicable non-bankruptcy law, paid, treated, determined and administered in the ordinary
         course of business as if the Debtor’s bankruptcy case was never filed and the Debtor shall
         comply with all applicable non-bankruptcy law. Except with respect to (i) the releases provided
         by DOE pursuant to Section 12.6(c) of the Plan and (ii) the Prepetition Note Claim, all claims,
         liabilities, rights, causes of action, or defenses of or to the United States or any State shall
         survive the Chapter 11 Case as if it had not been commenced and be determined in the ordinary
         course of business, including in the manner and by the administrative or judicial tribunals in
         which such rights, defenses, claims, liabilities, or causes of action would have been resolved or
         adjudicated if the Chapter 11 Case had not been commenced; provided, that nothing in the Plan
         Documents shall alter any legal or equitable rights or defenses of the Debtor under non-
         bankruptcy law with respect to any such claim, liability, or cause of action, except with respect
         to (i) the Prepetition Note Claim and (ii) any claims or Causes of Action released by the DOE

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         pursuant to Section 12.6(c) of the Plan. Without limiting the foregoing, for the avoidance of
         doubt, nothing shall: (i) require the United States or any State to file any proofs of claim or
         administrative expense claims in the Chapter 11 Case for any right, claim, liability, defense, or
         cause of action; (ii) affect or impair the exercise of the United States’ or any State’s police and
         regulatory powers against the Debtor or any non-debtor; (iii) be interpreted to set cure amounts
         or to require the United States or any State to novate or otherwise consent to the transfer of any
         federal or state contracts, purchase orders, agreements, leases, covenants, guaranties,
         indemnifications, operating rights agreements or other interests; (iv) except with respect to the
         Prepetition Note Claim, affect or impair the United States’ or any State’s rights and defenses of
         setoff and recoupment, or ability to assert setoff or recoupment against the Debtor and such
         rights and defenses are expressly preserved; (v) constitute an approval or consent by the United
         States or any State without compliance with all applicable legal requirements and approvals
         under non-bankruptcy law; or (vi) relieve any party from compliance with all licenses and
         permits issued by governmental units in accordance with non-bankruptcy law.



                                       RETENTION OF JURISDICTION

                         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding
         entry of the Confirmation Order and the occurrence of the Effective Date, on and after the
         Effective Date, the Bankruptcy Court shall retain jurisdiction, to the fullest extent permissible
         under law, over all matters arising in, arising under, or related to the Chapter 11 Case for, among
         other things, the following purposes:

                        (a)     To hear and determine all matters relating to the assumption or rejection of
         executory contracts or unexpired leases, including whether a contract or lease is or was
         executory or expired, and the Cure Disputes resulting therefrom;

                       (b)     To hear and determine any motion, adversary proceeding, application,
         contested matter, and other litigated matter pending on or commenced after the Confirmation
         Date;

                        (c)     To hear and resolve any disputes arising from or relating to (i) any orders
         of the Bankruptcy Court granting relief under Bankruptcy Rule 2004, or (ii) any protective
         orders entered by the Bankruptcy Court in connection with the foregoing;

                       (d)    To ensure that Plan Distributions to holders of Allowed Claims are
         accomplished as provided herein;

                         (e)      To consider Claims or the allowance, disallowance, liquidation,
         classification, priority, compromise, estimation, or payment of any Claim, including any
         Administrative Expense Claim or Professional Fee Claim;

                       (f)    To enter, implement, or enforce such orders as may be appropriate in the
         event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

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                        (g)     To issue and enforce injunctions, enter and implement other orders, and
         take such other actions as may be necessary or appropriate to restrain interference by any Person
         with the consummation, implementation, or enforcement of this Plan, the Confirmation Order, or
         any other order of the Bankruptcy Court (including, without limitation, with respect to releases,
         exculpations and indemnifications);

                        (h)     To hear and determine any application to modify this Plan in accordance
         with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
         inconsistency in this Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
         including the Confirmation Order, in such a manner as may be necessary to carry out the
         purposes and effects thereof;

                        (i)    To resolve disputes concerning any reserves with respect to Disputed
         Claims or the administration thereof;

                         (j)      To hear and determine disputes arising in connection with or related to the
         interpretation, implementation, or enforcement of this Plan, the Confirmation Order, the
         Disclosure Statement, any transactions or payments contemplated hereby, or any agreement,
         instrument, or other document governing or relating to any of the foregoing (including without
         limitation the Plan Supplement and the Plan Documents); provided that the Bankruptcy Court
         shall not retain jurisdiction over disputes concerning documents contained in the Plan
         Supplement that have a jurisdictional, forum selection or dispute resolution clause that refers
         disputes to a different court and any disputes concerning documents contained in the Plan
         Supplement shall be governed in accordance with the provisions of such documents;

                        (k)     To take any action and issue such orders, including any such action or
         orders as may be necessary after occurrence of the Effective Date and/or consummation of the
         Plan, as may be necessary to construe, enforce, implement, execute, and consummate this Plan,
         including any release or injunction provisions set forth herein, or to maintain the integrity of this
         Plan following consummation;

                        (l)    To determine such other matters and for such other purposes as may be
         provided in the Confirmation Order;

                       (m)     To hear and determine matters concerning state, local and federal taxes in
         accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                        (n)     To hear and determine any other matters related hereto and not
         inconsistent with the Bankruptcy Code and title 28 of the United States Code;

                        (o)    To resolve any disputes concerning whether a Person had sufficient notice
         of the Chapter 11 Case, the Disclosure Statement Hearing, the Confirmation Hearing, the
         Administrative Bar Date, or the deadline for responding or objecting to a Cure Amount, for the
         purpose of determining whether a Claim or Interest is discharged hereunder, or for any other
         purpose;


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                        (p)     To recover all assets of the Debtor and property of the Estate, wherever
         located;

                         (q)   To hear and determine any rights, claims or Causes of Action held by or
         accruing to the Debtor pursuant to the Bankruptcy Code or pursuant to any federal or state statute
         or legal theory; and

                        (r)     To enter a final decree closing the Chapter 11 Case.

         As of the Effective Date, notwithstanding anything in this Article XIII to the contrary, the Exit
         Credit Facility Agreement shall be governed by the jurisdictional provisions therein.

                 If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or
         is otherwise without jurisdiction over any matter arising in, arising under, or related to the
         Chapter 11 Case, the provisions of this Article XIII shall have no effect on and shall not control,
         limit, or prohibit the exercise of jurisdiction by any other court having competent jurisdiction
         with respect to such matter.



                                       MISCELLANEOUS PROVISIONS

                14.1.   Exemption from Certain Transfer Taxes.

                         Pursuant to section 1146(a) of the Bankruptcy Code and to the fullest extent
         permitted by applicable law, (i) any issuance, transfer, or exchange under this Plan of New
         Common Units and the security interests in favor of the lenders under the Exit Credit Facility
         Agreement of a security, or the making or delivery of an instrument of transfer under this Plan
         may not be taxed under any law imposing a stamp tax or similar tax and (ii) the consummation of
         sale transactions by the Debtor and approved by the Bankruptcy Court on and after the
         Confirmation Date through and including the Effective Date, including any transfers effectuated
         under this Plan, the sale by the Debtor of any owned property pursuant to section 363(b) of the
         Bankruptcy Code, and any assumption, assignment, and/or sale by the Debtor of its interests in
         unexpired leases of non-residential real property or executory contracts pursuant to section
         365(a) of the Bankruptcy Code, shall constitute a “transfer under a plan” and shall not be subject
         to any stamp, real estate transfer, recording, or other similar tax.

                14.2.   Termination of Professionals.

                        On the Effective Date, the engagement of each Professional Person retained by
         the Debtor shall be terminated without further order of the Bankruptcy Court or act of the parties;
         provided, however, such Professional Person shall be entitled to prosecute their respective
         Professional Fee Claims and represent their respective constituents with respect to applications
         for allowance and payment of such Professional Fee Claims and the Debtor shall be responsible
         for the reasonable and documented fees, costs and expenses associated with the prosecution of
         such Professional Fee Claims, subject to applicable law. Nothing herein shall preclude the

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         Debtor from engaging a former Professional Person on and after the Effective Date in the same
         capacity as such Professional Person was engaged prior to the Effective Date.

                14.3.   Amendments.

                         If acceptable to the Debtor, Cobra and DOE, this Plan may be amended, modified,
         or supplemented in the manner provided for by section 1127 of the Bankruptcy Code or as
         otherwise permitted by law, without additional disclosure pursuant to section 1125 of the
         Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court. In addition, after the
         Confirmation Date, so long as such action does not materially and adversely affect the treatment
         of holders of Allowed Claims pursuant to this Plan, the Debtor may, if reasonably acceptable to
         the Debtor, Cobra and DOE, make appropriate technical adjustments, remedy any defect or
         omission or reconcile any inconsistencies in this Plan, the Plan Documents and/or the
         Confirmation Order, with respect to such matters as may be necessary to carry out the purposes
         and effects of this Plan, and any holder of a Claim or Interest that has accepted this Plan shall be
         deemed to have accepted this Plan as amended, modified, or supplemented.

                14.4.   Revocation or Withdrawal of this Plan.

                          The Debtor reserves the right to revoke, delay or withdraw this Plan prior to the
         Effective Date. If the Debtor revokes, delays or withdraws this Plan, in accordance with the
         preceding sentence, prior to the Effective Date, or if confirmation or consummation of the Plan
         does not occur, then: (a) this Plan (other than this Section 14.4) shall be null and void in all
         respects; (b) any settlement or compromise not previously approved by Final Order of the
         Bankruptcy Court embodied in this Plan, assumption, assumption and assignment, or rejection of
         executory contracts or leases affected by this Plan, and any document or agreement executed
         pursuant to this Plan shall be deemed null and void; and (c) nothing contained in this Plan shall
         (i) constitute a waiver or release of any Claims by or against, or any Interests in, such Debtor or
         any other Person, (ii) prejudice in any manner the rights of such Debtor or any other Person or
         (iii) constitute an admission of any sort by the Debtor or any other Person.

                14.5.   Allocation of Plan Distributions Between Principal and Interest.

                         To the extent that any Allowed Claim entitled to a distribution under the Plan
         consists of indebtedness and other amounts (such as accrued but unpaid interest thereon), such
         distribution shall be allocated first to the principal amount of the Claim (as determined for
         federal income tax purposes) and then, to the extent the consideration exceeds the principal
         amount of the Claim, to such other amounts.

                14.6.   Severability.

                         If, prior to the entry of the Confirmation Order, any term or provision of this Plan
         is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at
         the request of the Debtor, with the consent of Cobra and DOE, shall have the power to alter and
         interpret such term or provision to make it valid or enforceable to the maximum extent
         practicable, consistent with the original purpose of the term or provision held to be invalid, void,
         or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
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         Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
         provisions of this Plan will remain in full force and effect and will in no way be affected,
         impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
         shall constitute a judicial determination and shall provide that each term and provision of this
         Plan, as it may have been altered or interpreted in accordance with the foregoing, is valid and
         enforceable pursuant to its terms.

                14.7.   Governing Law.

                         Except to the extent that the Bankruptcy Code or other U.S. federal law is
         applicable, or to the extent a Plan Document or exhibit or schedule to the Plan provides
         otherwise, the rights, duties, and obligations arising under this Plan and the Plan Documents
         shall be governed by, and construed and enforced in accordance with, the laws of the State of
         Delaware, without giving effect to the principles of conflict of laws thereof to the extent such
         principles would result in the application of the laws of any other jurisdiction.

                14.8.   Section 1125(e) of the Bankruptcy Code.

                         The Debtor has, and upon confirmation of this Plan shall be deemed to have,
         solicited acceptances of this Plan in good faith and in compliance with the applicable provisions
         of the Bankruptcy Code, and the Debtor and its Affiliates, agents, managers, officers, employees,
         advisors, and attorneys participated in good faith and in compliance with the applicable
         provisions of the Bankruptcy Code in the offer, issuance, sale, solicitation and/or purchase of the
         securities offered and sold under this Plan, and therefore are not, and on account of such offer,
         issuance, sale, solicitation, and/or purchase will not be, liable at any time for the violation of any
         applicable law, rule, or regulation governing the solicitation of acceptances or rejections of this
         Plan or offer, issuance, sale, or purchase of the securities offered and sold under this Plan.

                14.9.   Inconsistency.

                        In the event of any inconsistency among the Plan, the Disclosure Statement, the
         Plan Documents, any exhibit to the Plan or any other instrument or document created or executed
         pursuant to the Plan, the provisions of the Plan shall govern.

                14.10. Time.

                        In computing any period of time prescribed or allowed by this Plan, unless
         otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
         Rule 9006 shall apply. If any payment, distribution, act or deadline under the Plan is required to
         be made or performed or occurs on a day that is not a Business Day, then the making of such
         payment or distribution, the performance of such act or the occurrence of such deadline shall be
         deemed to be on the next succeeding Business Day, but shall be deemed to have been completed
         or to have occurred as of the required date.




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                 14.11. Exhibits.

                           All exhibits to this Plan are incorporated and are a part of this Plan as if set forth
         in full herein.

                 14.12. Notices.

                         In order to be effective, all notices, requests, and demands to or upon the Debtor
         shall be in writing (including by facsimile transmission) and, unless otherwise provided herein,
         shall be deemed to have been duly given or made only when actually delivered or, in the case of
         notice by facsimile transmission, when received and telephonically confirmed, addressed as
         follows:

                           Tonopah Solar Energy, LLC
                           11 Gabbs Pole Line Road
                           Tonopah, NV 89049
                           Attn: Kayla Jensen
                           kayla.jensen@crescentdunessolar.com

                           with a copy to (which shall not constitute notice):

                           Willkie Farr & Gallagher LLP
                           787 Seventh Ave.
                           New York, NY 10019
                           Attn: Matthew A. Feldman, Paul V. Shalhoub, and Ciara A. Copell
                           Fax: (212) 728-8111
                           Email: mfeldman@willkie.com
                                  pshalhoub@willkie.com
                                  ccopell@willkie.com

                           -and-

                           Young Conaway Stargatt & Taylor LLP
                           1000 N. King St.
                           Wilmington, DE 19801
                           Attn: Matthew B. Lunn and Edmon L. Morton
                           Fax: (302) 571-1253
                           Email: mlunn@ycst.com
                                  emorton@ycst.com

                 14.13. Filing of Additional Documents.

                        On or before substantial consummation of the Plan, the Debtor shall file with the
         Bankruptcy Court such agreements and other documents as may be necessary or appropriate to
         effectuate and further evidence the terms and conditions of the Plan.

                 14.14. Reservation of Rights.
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                         Except as expressly set forth herein, the Plan shall have no force or effect unless
         the Bankruptcy Court shall enter the Confirmation Order. None of the filing of this Plan, any
         statement or provision contained herein, or the taking of any action by the Debtor or Cobra with
         respect to this Plan shall be or shall be deemed to be, an admission or waiver of any rights of the
         Debtor or Cobra with respect to any Claims or Interests prior to the Effective Date.




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         Dated: July 30September 2, 2020
                Wilmington, Delaware

                                                Respectfully submitted,



                                                        /s/ Justin D. Pugh
                                                        Justin D. Pugh
                                                        Treasurer




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                                     Schedule A

                             Exit Credit Facility Terms




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         Below is a summary of the material terms of the Exit Credit Facility Agreement. Mutually
         agreed terms and conditions not inconsistent with the below may be incorporated into the Exit
         Credit Facility Agreement.

         Borrower                       Reorganized Tonopah Solar Energy, LLC


         Lenders                        ACS Servicios Comunicaciones y Energía S.L. (“ACS”), Cobra
                                        Thermosolar Plants, Inc. and Cobra Energy Investment, LLC, or
                                        such other entity or entities designated by Cobra and acceptable
                                        to the Borrower

         Facility                       Term loan totaling $100 million (the “Term Loan”) and up to
                                        $50 million working capital facility (the “Working Capital
                                        Facility”). Amounts borrowed and prepaid or repaid may not be
                                        reborrowed.

         Security                       Valid and perfected first-priority liens on, and security interests
                                        in, substantially all existing and after-acquired property (tangible
                                        and intangible) of Reorganized TSE (subject to customary
                                        exceptions).

         Purpose and                    The Term Loan shall be put in place on the Effective Date of the
         Availability                   Plan to provide for repayment of $100 million to Cobra on
                                        account of its funding (through a draw on the Final Letter of
                                        Credit issued pursuant to the Cobra backstop letter) of the
                                        Borrower’s obligations to DOE under the Plan.

                                        The Working Capital Facility shall be put in place on the
                                        Effective Date of the Plan to provide Reorganized TSE with
                                        working capital on and following the Effective Date.

         Maturity Date                  Term Loan: Twenty (20) years from Effective Date of Plan.

                                        Working Capital Facility: Five (5) years from the Effective Date.

         Interest Rate                  Both the Term Loan and the Working Capital Facility will bear
                                        interest at a rate of 2.9% on amounts outstanding, payable
                                        quarterly in arrears during the term.

                                        During the term of the Term Loan, only interest shall be payable
                                        (no principal payments shall be required during this period).

         Optional Prepayments           The Term Loan and the Working Capital Facility may be
                                        prepaid at any time in whole or in part, at the option of the
                                        Borrower, without premium or penalty.



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